Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 1 of 124




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO.:


  YUANXIAO FENG, an individual; KIU
  CHUN SAXON HUI, an individual; LAI
  KING HUI, an individual; JING KUANG, an
  individual; CHUEN PING NG, an individual;
  MINYANG TIAN, an individual; HONGSEN
  ZHANG, an individual; and YAN ZHANG, an
  individual,
         Plaintiffs.                                     JURY DEMAND
  v.
  JOSEPH WALSH, an individual; JOSEPH
  WALSH, JR., an individual; ANTHONY
  REITZ, an individual;
  LESLIE ROBERT EVANS, an individual;
  GREYSTONE EB-5 LLLP, a Florida limited
  liability limited partnership; SOUTH
  ATLANTIC REGIONAL CENTER, LLC, a
  Florida limited liability company; USREDA,
  LLC, a Delaware limited liability company;
  USREDA HOLDINGS LLC, a Delaware
  limited liability company; USREDA
  MANAGEMENT, LLC, a Delaware limited
  liability company; JJW CONSULTANCY,
  LTD., a foreign company; DANIEL
  VOSOTAS, an individual; JAMES
  VOSOTAS, an individual; GREYSTONE
  HOTEL MIAMI LLC, a Florida limited
  liability company;


                                         Page 1 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 2 of 124



  UNITED EB5, LLC, a Florida limited liability
  company; SANTA BARBARA 230, LLC, a
  Foreign limited liability company;
  GREYSTONE TERRA FIRMA, LLC, a
  Foreign limited liability company;
  VOS HOLDINGS I, LLC, a Florida limited
  liability company;
  VOS CRE I, LLC, a Florida limited liability
  company;
  GREYSTONE HOSPITALITY, LLC, a
  Florida limited liability company;
  GREYSTONE HOLDCO, LLC, a Foreign
  Florida limited liability company;
  GREYSTONE MANAGING MEMBER,
  LLC, a Florida limited liability company;
  GREYSTONE MASTER TENANT, LLC, a
  Foreign limited liability company;
  GREYSTONE TENANT, LLC, a Foreign
  Florida limited liability company;
  GREYSTONE OPTION HOLDER, LLC, a
  Foreign limited liability company; WWB
  TRUST LLC, a Florida limited liability
  company; TRANS INNS ASSOCIATES INC.,
  a Foreign profit corporation;
  EVANS CARROL & ASSOCIATES INC., a
  Florida Corporation;
  VOS HOSPITALITY, LLC, a Florida limited
  liability company;
  BBM 3, LLC, an Indiana limited liability
  company;
  BBM 3 II, LLC an Indiana limited liability

                                        Page 2 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 3 of 124



  company;
  BRANDON MUHL, an individual;
  PNC BANK, N.A., a National Association;
  and RUBEN RAMIREZ, an individual
         Defendants.
  _____________________________________/

                                            COMPLAINT

         Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI, JING

  KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN ZHANG

  (collectively, hereinafter “Plaintiffs”), hereby sue Defendants, JOSEPH WALSH, JOSEPH

  WALSH, JR., ANTHONY REITZ, LESLIE ROBERT EVANS, GREYSTONE EB-5 LLLP,

  SOUTH ATLANTIC REGIONAL CENTER, LLC, USREDA, LLC, USREDA HOLDINGS

  LLC, USREDA MANAGEMENT, LLC, JJW CONSULTANCY, LTD., DANIEL VOSOTAS,

  JAMES VOSOTAS, GREYSTONE HOTEL MIAMI LLC, UNITED EB5, LLC, SANTA

  BARBARA 230, LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS

  CRE I, LLC, GREYSTONE HOSPITALITY, LLC, GREYSTONE HOLDCO, LLC,

  GREYSTONE MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,

  GREYSTONE TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, WWB TRUST LLC,

  TRANS INNS ASSOCIATES INC., EVANS CARROL & ASSOCIATES INC., VOS

  HOSPITALITY, LLC, BBM 3, LLC, BBM 3 II, LLC, BRANDON MUHL, PNC BANK, N.A.,

  and RUBEN RAMIREZ (collectively, hereinafter “Defendants”), seeking Damages and

  Injunctive Relief, and in support thereof state as follows:




                                          Page 3 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 4 of 124



                                              I.       INTRODUCTION
          1.        This case stems from Defendants’ fraudulent scheme to induce Plaintiffs into

  investing in United States real estate to obtain EB-5 immigrant visas.

          2.       More specifically, since 2010, Defendant, Joseph J. Walsh (hereinafter “Walsh”),

  his entities, and co-conspirators 1 have defrauded investors participating in the Immigrant

  Investor Program (hereinafter “EB-5 Program”) administered by the United States Citizen and

  Immigration Services (hereinafter “USCIS”). The EB-5 Program, also known as the immigrant

  investor visa, allows foreign nationals to apply for permanent residency in the United States after

  investing in a US business that, among other things, must create a certain number of jobs.

          3.       Plaintiffs are victims in the latest series of fraudulent conspiracies perpetuated by

  Walsh’s purported EB-5 projects. In this instance, an EB-5 investment project advertised as the

  Greystone Hotel Project or Greystone EB-5 LLLP (hereinafter “Greystone EB-5 Partnership”).

          4.       From 2014 to 2016, Greystone EB-5 LLLP offered and sold limited partnership

  “units” totaling up to Twenty-Two Million Dollars ($22,000,000.00) to at least eight (8) foreign

  investors through the EB-5 Program. The offering materials provided to investors represented

  that the Greystone EB-5 Partnership would loan investor funds to Greystone Hotel Miami, LLC

  (hereinafter    “Greystone Hotel Miami”) to develop, renovate, and operate the Greystone

  Properties which comprised of two (2) adjacent properties located at 1920 Collins Avenue and

  230 20th Street, Miami Beach, Florida (hereinafter “Greystone Properties”). Instead, Defendant,

  Walsh and co-conspirators misappropriated a significant portion, if not all, of the investor funds.




  1
    The term “co-conspirators” includes, but is not limited to Walsh, Joseph Walsh Jr., the South Atlantic Regional
  Center, WWB Trust, USREDA, LLC, USREDA, Holdings and JJW Consultancy, Daniel Vosotas, James Vosotas,
  the Vosotas Entities (as fully defined in paragraph 74), Branden Muhl, BBM 3, LLC and BBM 3 II, LLC Anthony
  Reitz and PNC Bank.

                                              Page 4 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 5 of 124



             5.       Defendant, Walsh and the co-conspirators also made false and materially

  misleading statements regarding: (1) the use of investor funds; (2) the use of an escrow account

  to hold investor funds prior to disbursement to Greystone Hotel Miami; (3) the existence of

  conditions precedent to the advancement of loan disbursements to Greystone Hotel Miami; (4)

  the guaranteed return of investors’ funds if Plaintiffs’ I-526 Petitions 2 were denied; (5)

  Defendant, Walsh and co-conspirators’ backgrounds; (6) the preparation and periodic disclosure

  to investors of financial reports; (7) Greystone Hotel Miami’s repayment of the loan; (8)

  Greystone Hotel Miami’s purported ownership of and investment in the Greystone Properties; (9)

  advertisements of Greystone Hotel Miami development prior to the commencement of the

  Greystone EB-5 Partnership offering; and (10) the existence of a mortgage, or other security, the

  investors held through the Greystone EB-5 Partnership against the Greystone Properties to secure

  their loan and investment.

             6.       To date, none of the Plaintiffs’ investments have been accounted for, and all of the

  Plaintiffs’ EB-5 Visa applications have been denied by USCIS.

             7.       Defendant, Walsh and his co-conspirators developed an elaborate scheme to

  wrongfully obtain investments from the Plaintiffs for illegitimate purposes. Defendants

  conspired to fraudulently induce Plaintiffs to each invest Five Hundred Thousand Dollars

  ($500,000.00), plus an additional Forty-Five Thousand Dollar ($45,000.00) “administrative fee,”

  and an additional Fifteen Thousand Dollar ($15,000.00) “legal services fee” into the Greystone

  EB-5 project, the EB-5 Partnership, and the Greystone Properties development (hereinafter

  “Greystone Project”).




  2
      The terms “I-526 Petition(s)” and “I-526 application(s)” refers to Immigrant Petition(s) by Alien Entrepreneur.

                                                   Page 5 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 6 of 124



         8.      Plaintiffs’ funds were only authorized to be held in an escrow account and then

  loaned to Greystone Hotel Miami. Additionally, Plaintiffs funds were only authorized to be used

  to renovate the Greystone Properties in accordance with the guidelines of the EB-5 Program.

         9.      Specifically, the Greystone Project was required to create ten (10) qualifying, full-

  time jobs per investor.

         10.     Not only did Defendants represent that Plaintiffs’ funds would be used in

  compliance with EB-5 regulations, but Defendants prepared and submitted documents to USCIS

  stating this requirement would be fulfilled by renovating and operating the Greystone Properties.

         11.     Finally, Plaintiffs’ investments were supposed to be secured by a lien or mortgage

  on the Greystone Properties.

         12.     Walsh and James Vosotas (hereinafter “J. Vosotas”) are managers of the

  Greystone EB-5 Partnership. Greystone EB-5 Partnership’s two (2) general partners (hereinafter

  “General Partners”) are South Atlantic Regional Center (hereinafter “SARC”), an entity managed

  and controlled by Walsh, and United EB5, LLC, (hereinafter “United EB5”) an entity managed

  and controlled by J. Vosotas.

         13.     Plaintiffs’ funds were not held in an escrow account. Without legal right or

  authorization, Defendants conspired to place Plaintiffs’ funds in a checking account specifically

  designed to be disguised as an escrow account. Defendants conspired to create a fictitious escrow

  company, WWB Trust, LLC (hereinafter “WWB Trust”). Instead of being a neutral third-party

  trust to hold Plaintiffs’ funds, WWB Trust was in fact controlled secretly by Defendant Walsh as

  part of the conspiracy, while masquerading as a legitimate escrow company. Defendant WWB

  Trust was nothing more than an entity created by Walsh and the co-conspirators to facilitate their

  fraud and theft. Defendants, Walsh, PNC Bank (hereinafter “PNC”), and the other Defendants


                                         Page 6 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 7 of 124



  conspired to misname and apply escrow services to Walsh’s business checking account to

  mislead and deceive Plaintiffs. Upon receiving Plaintiffs’ funds in a checking account without

  any escrow protection, Defendants Walsh and co-conspirators transferred Plaintiffs’ funds to

  their personal accounts and dissolved Defendant WWB Trust, in an attempt to hide their actions.

         14.     Contrary to all written and oral agreements, Defendant Greystone Hotel Miami

  did not hold any legal title to the Greystone Properties. Defendants, Walsh, J. Vosotas and the co-

  conspirators conspired to create fraudulent loans, business plans, and security documents falsely

  stating that the Greystone Hotel Miami held title to the Greystone Properties. These fraudulent

  documents were distributed to Plaintiffs with the sole purpose of inducing them into participating

  in the project and to create a false assurance that Plaintiffs’ investments were secured by valuable

  real estate. Additionally, these fraudulent documents were given to USCIS to confuse and

  mislead government officials as to the viability of the EB-5 project with the purpose of delaying

  the inevitable exposure and Plaintiffs’ ultimate discovery of the fraud. In fact, the Greystone

  Hotel Miami holds no assets, let alone the Greystone Properties. Defendant, Walsh and co-

  conspirators created shell companies, under the ownership and control of Walsh’s co-

  conspirators, J. Vosotas, Daniel Vosotas (hereinafter “D. Vosotas”), and Branden Muhl

  (hereinafter “Muhl”) to hold actual title to the Greystone Properties and to defraud Plaintiffs and

  USCIS. After the fraud against Plaintiffs had come to fruition, Defendants J. Vosotas, D. Vosotas,

  and Muhl moved the Greystone Properties to new shell entities and trusts in Delaware in an

  attempt to avoid criminal and civil liability.

         15.     Defendants, either by participating in the conspiracy, or by owning, controlling,

  and managing the Defendants entities, knew or should have known, Plaintiffs’ funds were

  misappropriated. Defendant, Greystone EB-5 Partnership’s General Partners committed fraud by


                                          Page 7 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 8 of 124



  providing false mortgage and loan agreements to Plaintiffs’ immigration attorneys to submit to

  USCIS. The purpose of this ongoing fraud was to hide Defendants’ conspiracy. Despite knowing

  the loan and mortgage documents contained false statements that Greystone Hotel Miami held

  title to both Greystone Properties, none of the Defendants, as owner, manager, or General Partner

  of the above entities notified Plaintiffs or USCIS to correct the record and mitigate the harm

  caused to Plaintiffs.

         16.     None of Plaintiffs’ funds were used to develop the Greystone Properties, no EB-5

  approved jobs were created, and as a result, Plaintiffs did not qualify for EB-5 visas.

  Accordingly, Plaintiffs were defrauded and are now unable to immigrate to the United States, in

  addition to losing a large investment.

         17.     Moreover, given the nature of the EB-5 program, Defendants’ misrepresentations

  to Plaintiffs continue to cause Plaintiffs to face a delay of ten (10) or more years, should they

  seek to reapply though the EB-5 program in a new, legitimate project.

                                               II.     PARTIES
         18.     Plaintiffs are foreign nationals that were victims of Defendants’ conspiracies and

  were fraudulently induced to invest in Defendants’ purported EB-5 Projects.

         19.     Defendant, Walsh is an individual, who upon information and belief, resides in

  Palm Beach County, Florida, and is otherwise sui juris. At all times relevant hereto, Defendant

  Walsh was the manager of SARC and United States Regional Economic Development Authority

  LLC d/b/a/ EB5 Petition (hereinafter “USREDA”), the managing member of USREDA Holdings

  LLC, the managing member of WWB Trust, controlling each of these entities and Greystone

  EB5 Partnership.

         20.     Defendant, Joseph Walsh, Jr. (hereinafter “Walsh Jr.”) is an individual who upon

  information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.
                                           Page 8 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 9 of 124



  Defendant, Walsh Jr. is the son of Defendant, Walsh. Defendant, Walsh Jr. was the manager of

  SARC, USREDA, and JJW Consultancy, Ltd. Defendant, Joseph Walsh Jr. and co-conspirators

  made material, false representations to Plaintiffs that induced them to invest the in the Greystone

  EB-5 Partnership.

         21.     Defendant, D. Vosotas is an individual who upon information and belief, resides

  in Palm Beach County, Florida, and is otherwise sui juris. Defendant, D. Vosotas is the father of

  Defendant, J. Vosotas. Defendant, D. Vosotas is the owner and manager of VOS Hospitality who

  partnered with Defendant, Walsh in the Greystone EB-5 Partnership Offering. Defendant, D.

  Vosotas and co-conspirators made material, false representations to Plaintiffs that induced them

  to invest in the Greystone Project. Defendant, D. Vosotas is an owner and manager of multiple

  companies that conspired with Defendant, Walsh to defraud the Plaintiffs.

         22.     Defendant, J. Vosotas is an individual who upon information and belief, resides in

  Palm Beach County, Florida, and is otherwise sui juris. Defendant, J. Vosotas is the son of

  Defendant, D. Vosotas. Defendant, J. Vosotas is the owner and manager of multiple Vosotas

  Entities who partnered and conspired with Defendant, Walsh in the Greystone EB-5 Partnership

  Offering to defraud the Plaintiffs. Defendant, J. Vosotas and co-conspirators made material, false

  representations to Plaintiffs that induced them to invest in the Greystone Project.

         23.     Defendant, Muhl is an individual who resides in Dallas, Texas, but does

  substantial business in Palm Beach County, Florida. Defendant, Muhl is the owner and manager

  of multiple Vosotas Entities who partnered and conspired with Defendant, Walsh in the

  Greystone EB-5 Partnership Offering to defraud the Plaintiffs. Defendant, Muhl and co-

  conspirators made material, false representations to Plaintiffs that induced them to invest in the

  Greystone Project.


                                         Page 9 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 10 of 124



          24.    Defendant, Anthony Reitz (hereinafter “Reitz”) is an individual, who upon

   information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Reitz is the Chief Financial Officer of WWB Trust, LLC. Defendant, Reitz is also a

   former employee of PNC Bank and assisted Defendant, Walsh in creating a fake escrow account.

   In his capacity as Chief Financial Officer of WWB Trust, LLC, Defendant, Reitz signed the

   escrow agreements.

          25.    Defendant, Ruben Ramirez (hereinafter “Ramirez”), an individual, who upon

   information and belief resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Ramirez is a business banker and is employed by PNC as a Vice-President. At all

   times relevant hereto, Ramirez worked at PNC branch or branches in Boynton Beach and Palm

   Beach County, Florida.

          26.    Defendant, Leslie Robert Evans (hereinafter “Evans”) is an individual, who upon

   information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Evans is an attorney based in Palm Beach County, Florida, and acted as General

   Counsel for Defendants, Walsh and Walsh’s various entities. Defendant, Evans assisted

   Defendant, Walsh in creating fraudulent documents, agreements, and transfers to defraud

   Plaintiffs. Defendant, Evans received investor funds, which were fraudulently obtained by

   Defendant, Walsh and his entities. According to a criminal complaint filed in the United States

   District of Connecticut (Criminal No.: 18-CR-48-SRU). Defendant, Evans used his firm, Evans

   Carrol & Associates, Inc.’s (hereinafter “Evans Carrol & Associates”) trust account trust account

   was used to assist Defendant, Walsh in laundering money stolen from EB-5 investors.

          27.    Defendant, Greystone EB-5 Partnership is a Florida limited liability limited

   partnership with its principal place of business in Miami-Dade County, Florida. Defendant,


                                        Page 10 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 11 of 124



   Greystone EB-5 Partnership has offices throughout the State of Florida, including in Miami-

   Dade County. The General Partners of Defendant, Greystone EB-5 Partnership are Defendants,

   Walsh and J. Vosotas through Defendants, SARC and United EB5, LLC 3. Plaintiffs were

   fraudulently induced to each invest Five Hundred Thousand Dollars ($500,000.00) into

   Greystone EB-5 Partnership in exchange for an interest or “Unit” in the Greystone Limited

   Partnership, the false promise of United States EB-5 visas, the false promise of a security in the

   form of collateral against the Greystone Properties, and the ultimate return of their investment,

   with interest.

           28.      Defendant, SARC is a Florida limited liability company, located in Palm Beach

   County, Florida. Defendant, SARC is a USCIS designated Regional Center. Defendant, Walsh

   was the manager of SARC from its inception in June 2010 to at least April 2016. Thereafter,

   Defendant, USREDA Holdings LLC became the manager of Defendant, SARC. Defendant,

   SARC is a General Partner of the Greystone Partnership.

           29.      Defendant, USREDA Holdings, LLC (hereinafter “USREDA Holdings”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Palm Beach County, Florida. Defendant, USREDA Holdings is

   owned and directed by Defendant, Walsh. Defendant, Walsh transferred his ownership of

   Defendant, USREDA to Defendant, USREDA Holdings to avoid criminal and civil liability.

   Defendant, USREDA Holdings was, and is, engaged in substantial and not isolated activities in

   the State of Florida sufficient to subject it to the general personal jurisdiction of this Court under

   Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for jurisdiction.




   3
     As explained more fully in paragraphs 28 and 34, Defendant, Walsh is the manager of SARC and Defendant, J.
   Vosotas is the manager of United EB-5, LLC.

                                             Page 11 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 12 of 124



           30.     Defendant, USREDA, is a Delaware limited liability company with its principal

   place of business in Palm Beach County, Florida. Defendant, USREDA held itself out as a law

   firm to provide immigration services for Plaintiffs EB-5 Visa applications. Defendant, USREDA

   guaranteed the approval of any I-526 Petition it completed and the return of all service fees in the

   event of denial. Defendant, USREDA made material, false representations to the Plaintiffs that

   induced them to provide their investments. Defendant, USREDA was, and is, engaged in

   substantial and not isolated activity in the State of Florida sufficient to subject it to the general

   personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous and

   systematic contact requirements for jurisdiction.

           31.     Defendant, USREDA Management, LLC (hereinafter “USREDA Management”)

   is a Delaware limited liability company, duly registered to do business in the State of Florida,

   with its principal place of business in Palm Beach County, Florida. Defendant, USREDA

   Management is owned and directed by Defendant, Walsh. Defendant, Walsh transferred his

   ownership of Defendant, USREDA to Defendant, USREDA Management to avoid criminal and

   civil liability. USREDA Management was, and is, engaged in substantial and not isolated activity

   in the State of Florida sufficient to subject it to the general personal jurisdiction of this Court

   under Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for

   jurisdiction.

           32.     Defendant, JJW Consultancy, Ltd. (“JJW Consultancy”) is a foreign entity

   principally located in Hong Kong. Defendants, Walsh and Walsh, Jr. through JJW Consultancy

   made material, false representations that induced them to provide and continue with their

   investments. Defendant, JJW Consultancy was, and is, engaged in substantial and not isolated

   activity in the State of Florida sufficient to subject it to the general personal jurisdiction of this


                                          Page 12 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 13 of 124



   Court under Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for

   jurisdiction.

           33.     Defendant, Greystone Hotel Miami is a Florida limited liability company with its

   principal place of business in Miami-Dade County, Florida. Defendant, J. Vosotas managed and

   controlled Defendant, Greystone Hotel Miami. Defendants fraudulently represented to Plaintiffs

   and USCIS that Greystone Hotel Miami held title to two (2) parcels of real estate (i.e., the

   Greystone Properties) in Miami-Dade County, Florida. Defendants used this fraud to induce

   Plaintiffs’ into investing in the Greystone EB-5 Limited Partnership and to mislead USCIS that

   the Greystone Project was a potentially valid EB-5 development.

           34.     Defendant, United EB5 is a Florida limited liability company with its principal

   place of business in Miami-Dade County, Florida. Defendant, United EB5 LLC is a General

   Partner of Greystone Partnership. Defendant, J. Vosotas has a controlling interest in Defendant,

   United EB5. Defendant, J. Vosotas though his ownership and control of Defendant, United EB5

   acted as General Manager of Greystone Partnership.

           35.     Defendant, Santa Barbara 230, LLC, (hereinafter “Santa Barbara 230”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Miami-Dade County, Florida. Defendant, Santa Barbara 230 was

   previously a Florida limited liability company, however, in 2017, Defendant, Santa Barbara 230

   was converted to a Delaware limited liability company. Defendant, Santa Barbara 230, LLC

   holds title to one (1) of the two (2) properties, the Santa Barbara Apartments, comprising of the

   Greystone Properties. The sole member of Defendant, Santa Barbara 230 is Defendant, J.

   Vosotas. Defendant, Santa Barbara 230 was, and is, engaged in substantial and not isolated

   activity in the State of Florida sufficient to subject it to the general personal jurisdiction of this


                                          Page 13 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 14 of 124



   Court under Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for

   jurisdiction.

           36.     Defendant, Greystone Terra Firma, LLC (hereinafter “Greystone Terra Firma”) is

   a Delaware limited liability company, duly registered to do business in the State of Florida, with

   its principal place of business in Miami-Dade County, Florida. Defendant, Greystone Terra Firma

   was previously a Florida limited liability company, however, in 2019, Defendant, Greystone

   Terra Firma was converted to a Delaware limited liability company. Defendant, Greystone Terra

   Firma holds title to one (1) property, the Greystone Hotel, of the two (2) properties comprising of

   the Greystone Properties. Defendants, D. Vosotas, J. Vosotas, and Muhl transferred ownership of

   Defendant, Greystone Terra Firma to Greystone Delaware Statutory Trust in anticipation of legal

   action and to avoid criminal and civil liability. Defendant, Greystone Terra Firma was, and is,

   engaged in substantial and not isolated activities in the State of Florida sufficient to subject it to

   the general personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous

   and systematic contact requirements for jurisdiction.

           37.     Defendant, VOS Holdings I, LLC (hereinafter “VOS Holdings I”) is a Florida

   limited liability company previously located in Fort Lauderdale, Florida, and currently lists its

   principal place of business in Bloomfield Hills, Michigan. From its inception to present date,

   Defendants, D. Vosotas and J. Vosotas were the managers of VOS Holdings I. Defendant, VOS

   Holdings I holds an interest in the Greystone Properties. Defendants, J. Vosotas and D. Vosotas

   fraudulently represented that Greystone Hotel Maimi was the sole owner of the Greystone

   Properties to induce Plaintiffs to invest in the project.

           38.     Defendant, VOS CRE I, LLC (hereinafter “VOS CRE I”) is a Florida limited

   liability company previously located in Fort Lauderdale, Florida, and currently lists its principal


                                           Page 14 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 15 of 124



   place of business in Bloomfield Hills, Michigan. From its inception to present date, Defendants,

   D. Vosotas and J. Vosotas are the managers of Defendant, VOS CRE I. Defendant, VOS CRE I

   holds an interest in the Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently

   represented Greystone Hotel Miami as the sole owner of the Greystone Properties to induce

   Plaintiffs to invest in the project.

           39.     Defendant, Greystone Hospitality, LLC (hereinafter “Greystone Hospitality”) is a

   Florida limited liability company previously located in Fort Lauderdale, Florida, and currently

   lists its principal place of business in Bloomfield Hills, Michigan. Defendant, D. Vosotas is the

   manager of Defendant, Greystone Hospitality. Defendant, Greystone Hospitality holds an interest

   in the Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently represented

   Defendant, Greystone Hotel Miami as the sole owner of the Greystone Properties to induce

   Plaintiffs to invest in the project.

           40.     Defendant, Greystone Holdco, LLC (hereinafter “Greystone Holdco”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Bloomfield Hills, Michigan. Defendants, J. Vosotas and Branden

   Muhl are the managers of Greystone Holdco. Defendant, Greystone Holdco is an owner of the

   Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently represented Greystone

   Hotel Miami as the owner of the Greystone Properties to induce Plaintiffs to invest in the project.

   Greystone Holdco was, and is, engaged in substantial and not isolated activity in the State of

   Florida sufficient to subject it to the general personal jurisdiction of this Court under Fla. Stat. §

   48.193 and meets the continuous and systematic contact requirements for jurisdiction.

           41.     Defendant, Greystone Managing Member, LLC (hereinafter “Greystone

   Managing Member”) is a Florida limited liability company previously located in Fort


                                          Page 15 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 16 of 124



   Lauderdale, Florida, and currently lists its principal place of business in Bloomfield Hills,

   Michigan. Defendant, D. Vosotas is the manager of Defendant, Greystone Managing Member.

   Defendant, Greystone Managing Member holds an interest in the Greystone Properties.

   Defendants, J. Vosotas and D. Vosotas fraudulently represented Greystone Hotel Maimi as the

   sole owner of the Greystone Properties to induce Plaintiffs to invest in the project.

          42.     Defendant, Greystone Master Tenant, LLC (hereinafter “Greystone Master

   Tenant”) was a Florida limited liability company previously located in Fort Lauderdale, Florida.

   On or around December 2017 Defendant, Greystone Master Tenant was converted to a Delaware

   limited liability company and duly registered to do business in the State of Florida. Defendant,

   Greystone Managing Member is the manager of Defendant, Greystone Master Tenant.

   Defendant, Greystone Master Tenant holds an interest in the Greystone Properties. Defendants, J.

   Vosotas and D. Vosotas fraudulently represented Greystone Hotel Miami as the sole owner of the

   Greystone Properties to induce Plaintiffs to invest in the project. Defendant, Greystone Master

   Tenant was, and is, engaged in substantial and not isolated activity in the State of Florida

   sufficient to subject it to the general personal jurisdiction of this Court under Fla. Stat. § 48.193

   and meets the continuous and systematic contact requirements for jurisdiction.

          43.     Defendant, Greystone Tenant, LLC (hereinafter “Greystone Tenant”) was a

   Florida limited liability company previously located in Fort Lauderdale, Florida. On or around

   December 2017, Defendant, Greystone Tenant was converted to a Delaware limited liability

   company and duly registered to do business in the State of Florida. Defendants, J. Vosotas and

   Branden Muhl are the managers of Defendant, Greystone Tenant. Defendant, Greystone Tenant

   holds an interest in the Greystone Properties. J. Vosotas and D. Vosotas fraudulently represented

   Greystone Hotel Miami as the sole owner of the Greystone Properties to induce Plaintiffs to


                                          Page 16 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 17 of 124



   invest in the project. Defendant, Greystone Tenant was, and is, engaged in substantial and not

   isolated activities in the State of Florida sufficient to subject it to the general personal jurisdiction

   of this Court under Fla. Stat. § 48.193 and meets the continuous and systematic contact

   requirements for jurisdiction.

           44.     Defendant, Greystone Option Holder, LLC (hereinafter “Greystone Option

   Holder”) was a Florida limited liability company previously located in Fort Lauderdale, Florida.

   On or around December 2017, Defendant, Greystone Option Holder was converted to a

   Delaware limited liability company and duly registered to do business in the State of Florida.

   Defendants, J. Vosotas and Branden Muhl are the managers of Greystone Option Holder.

   Greystone Option Holder holds an interest in the Greystone Properties. J. Vosotas and D. Vosotas

   fraudulently represented Greystone Hotel Miami as the sole owner of the Greystone Properties to

   induce Plaintiffs to invest in the project. Defendant, Greystone Option Holder was, and is,

   engaged in substantial and not isolated activities in the State of Florida sufficient to subject it to

   the general personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous

   and systematic contact requirements for jurisdiction.

           45.     Defendant, WWB Trust is a Florida limited liability company with its principle

   place of business in Palm Beach County, Florida. Defendant, Walsh, through his entity, USREDA

   Holdings, manages and controls WWB Trust. WWB Trust was dissolved on or about April 28,

   2017. WWB Trust was the Escrow Agent overseeing Plaintiffs’ investment. WWB Trust held

   itself out to be a neutral, third-party Escrow Agent to induce Plaintiffs to invest in the project.

           46.     Defendant, Trans Inns Associates, Inc. (hereinafter “Trans Inns Associates”), is a

   Michigan corporation, duly registered to do business in the State of Florida, with its principle

   place of business in Bloomfield Hills, Michigan. Defendant, D. Vosotas, is the President and


                                            Page 17 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 18 of 124



   Director of the company. Defendant Trans Inns Associates advertised itself as the manager and

   developer of the Greystone Properties. Defendant, Trans Inns Associates logo and name appeared

   on advertisements for the Greystone Hotel EB-5 project.

          47.     Defendant, Evans, Carrol & Associates is a Florida Corporation whose principle

   place of business in Palm Beach County, Florida. Defendant, Evans Carrol & Associates received

   investor funds which were fraudulently obtained by Defendant, Walsh and his entities. According

   to a criminal complaint filed in the United States District of Connecticut (Criminal Case No.: 18-

   CR-48-SRU), Defendant, Evans Carrol & Associates’ trust account was used to assist Defendant,

   Walsh in laundering money stolen from EB-5 investors.

          48.     Defendant, VOS Hospitality, LLC (hereinafter “VOS Hospitality”) is a Florida

   limited liability company with its principle place of business in Bloomfield Hills, Michigan.

   Defendant, J. Vosotas, is the manager of the company. Defendant, VOS Hospitality advertised

   itself as the manager and developer of the Greystone Properties. Defendant, VOS Hospitality’s

   logo and name appeared on advertisements for the Greystone Hotel EB-5 project.

          49.     Defendant, BBM 3 LLC, (hereinafter “BBM 3”) is a Delaware limited liability

   company. Defendant, Muhl, is the manager and member of the corporation. Defendant, BBM 3

   holds an interest in the Greystone Properties. Defendants, J. Vosotas, D. Vosotas and Muhl

   fraudulently represented Greystone Hotel Miami as the sole owner of the Greystone Properties to

   induce Plaintiffs to invest in the project. Additionally, Defendant, BBM 3 is listed as a sponsor in

   the Loan Agreement.

          50.     Defendant, BBM 3 II, LLC (hereinafter “BBM 3 II”), is a Delaware limited

   liability company. Defendant, Muhl, is the manager and member of the corporation. Defendant,

   BBM 3 II is listed as a sponsor in the Loan Agreement.


                                          Page 18 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 19 of 124



          51.     Defendant, Greystone Hotel Developer, LLC (hereinafter “Greystone Hotel

   Developer”) is a Florida limited liability company with its principle place of business in Fort

   Lauderdale, Florida. Defendants J. Vosotas and Muhl are managers of the company.

          52.     Defendant, Greystone Managing Member is a Florida limited liability company

   with its principle place of business in Bloomfield Hills, Michigan. Defendants, J. Vosoas and

   Muhl, are managers of the company.

          53.     Defendant, PNC is a National Association with its headquarters and principal

   place of business in Pittsburgh, Pennsylvania and conducts business throughout the State of

   Florida. Among other things, Defendant, PNC is engaged in the business of providing retail

   banking services to millions of customers, including customers in the State of Florida.

   Defendant, PNC is subject to Personal Jurisdiction in Florida because it operates, conducts,

   engages in, carries on business or a business venture in Florida and/or committed tortious acts

   within Florida and/or engaged in substantial activity within Florida. The Fake Escrow Account

   and Business Checking account at issue herein were opened in Boynton Beach, Florida. PNC is

   subject to the personal jurisdiction of this Court pursuant to, inter alia, Section 48.193 of the

   Florida Statues because it is a foreign corporation actually conducting business in the State of

   Florida. Additionally, the causes of actions alleged herein accrued in the State of Florida.

                                                III.    VENUE
          54.     Venue is proper in this forum pursuant to 28 U.S.C. § 1391, 15 U.S.C. §78aa, and

   18 U.S.C. §1965 because a substantial part of the acts, transactions, and events giving rise to the

   claims occurred, and a substantial part of property that is the subject of the action is situated, in

   Miami-Dade County, Florida.




                                          Page 19 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 20 of 124



          55.     This Court has subject matter jurisdiction over this action under the 28 U.S.C.

   §1331 and Section 27 of the Securities Exchange Act, 15 U.S.C. §78 and the principles of

   ancillary or supplemental jurisdiction under Title 28, United States Code, Section 1367.

          56.     This Court has personal jurisdiction over Defendants because they, themselves or

   through operation and control of certain entities, operated, conducted, engaged in and carried on

   a fraudulent business and scheme in Miami-Dade County, Florida.

          57.     Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391,

   15 U.S.C. §78aa, and 18 U.S.C. § 1965 because the Defendants’ wrongful acts described herein

   occurred in Miami-Dade County, Florida, and the property that is the subject of this action is

   located in Miami-Dade County, Florida. Additionally, the Defendants are residents of, and/or

   transact business in, Miami-Dade County, Florida.

          58.     Plaintiffs have retained the undersigned counsel to represent them in this action

   and have agreed and are obligated to pay a reasonable fee for their services.

                                    IV.     GENERAL ALLEGATIONS
      A. THE EB-5 VISA PROGRAM

          59.     In 1990, Congress created the EB-5 Program with the stated purpose of creating

   economic growth in the United States. The EB-5 program provides a prospective immigrant

   investor an opportunity to become a permanent resident.

          60.     To qualify for an EB-5 visa, a foreign applicant must invest Five Hundred

   Thousand Dollars ($500,000.00) or One Million Dollars ($1,000,000.00), depending on the type

   of investment, in a commercial enterprise approved by USCIS. Once the foreign applicant has

   invested, he or she may apply for a conditional green card, which is good for two (2) years. If the

   investment creates or preserves at least ten (10) jobs during those two (2) years, the foreign



                                          Page 20 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 21 of 124



   applicant may apply to have the conditions removed from his or her green card. The applicant

   can then live and work in the United States permanently.

             61.   A certain number of EB-5 visas are set aside for prospective immigrants who

   invest through a Regional Center, such as SARC. The benefit of investing through a Regional

   Center is that an investor can consider indirect jobs created from the investment and can rely on

   the Regional Center’s analysis the investment meets USCIS’s requirements for an investment of

   Five Hundred Thousand Dollars ($500,000.00), rather than the One Million Dollar

   ($1,000,000.00) investment.

             62.   Regional Centers must carefully manage the number of potential EB-5 investors

   based on the anticipated number of jobs that will be created in the project. As stated above, to

   qualify for a permanent resident visa, each investor must prove the investment lead to the

   creation of preservation of ten (10) jobs.

      B. DEFENDANT, WALSH CREATES THE SARC, REGIONAL CENTER

             63.   On May 27, 2010, Defendant, Walsh applied for and received USCIS approval for

   the creation of a Regional Center, Defendant, SARC, located in Palm Beach, Florida. A true and

   correct copy of a Correspondence from USCIS demonstrating SARC’s status as a Regional

   Center is attached hereto as Exhibit 1.

             64.   Since 2010, Defendant, Walsh has promoted several EB-5 projects, including, but

   not limited to, the Royal Palm Town Center, Palm House Hotel, Greystone Hotel and several

   others.

             65.   One of Defendant, SARC’s projects is the Palm House Hotel project, is currently

   the subject of civil fraud complaint, Securities and Exchange Commission complaint, and

   criminal investigation.


                                             Page 21 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 22 of 124



      C. THE “WALSH ENTITIES”

              66.      Defendant, Walsh is the direct or indirect sole member of Defendants, SARC,

   WWB Trust, USREDA, USREDA Holdings, and JJW Consultancy (hereinafter collectively, the

   “Walsh Entities”).

              67.      Defendant, Walsh used these various entities to control Plaintiffs and prevent

   them from dealing with independent third parties who would have provided Plaintiffs with

   independent advice.

         i.         JJW Consultancy

           68.         Defendant, Walsh directed Plaintiffs to hire Defendant, JJW Consultancy as a

   financial and immigration advisor. Defendant, JJW Consultancy provided investment, financial,

   and immigration advice to Plaintiffs. Defendant, Walsh then used his position as manager and

   owner of Defendant, JJW Consultancy to prevent Plaintiffs from receiving neutral, independent

   advice for financial and immigration advice. Further, Defendant, Walsh used Defendant, JJW

   Consultancy to hire employees, agents, and advertisers to provide Plaintiffs with false and

   misleading information to perpetuate the alleged fraud.

        ii.         USREDA

           69.         Defendant, Walsh directed Plaintiffs to hire Defendant, USREDA as their

   immigration attorney of record. Defendant, Walsh then, as manager and owner of Defendant,

   USREDA, prevented Plaintiffs from receiving neutral, independent legal advice for Plaintiffs’

   immigration applications and their EB-5 investment. Defendant, USREDA provided legal

   services to Plaintiffs for their immigration applications including filing their I-526 Petitions with

   USCIS. Further, Defendant, Walsh used Defendant, USREDA to hire attorneys, employees,

   agents, and advertisers to provide Plaintiffs with false and misleading information.


                                            Page 22 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 23 of 124



              70.     Defendant, Walsh Jr. held the title of “Managing Director” of Defendant,

   USREDA. Defendant, Walsh Jr., directed Defendant, USREDA attorneys, employees, agents,

   and advertisers to provide Plaintiffs with false and misleading information. Defendant, Walsh Jr.,

   directed Defendant, USREDA employees, agents, and advertisers to provide Plaintiffs with false

   and misleading information. Defendant, Walsh Jr. also met with sales agents, investors, and

   prospective investors multiple times regarding the Greystone Hotel project to provide false and

   misleading information.

       iii.         USREDA Holdings

              71.     Defendant, Walsh Jr. held the title of “Managing Director” of Defendant,

   USREDA. Defendant, Walsh Jr., directed Defendant, USREDA attorneys, employees, agents,

   and advertisers to provide Plaintiffs with false and misleading information. Defendant, Walsh Jr.,

   directed Defendant, USREDA employees, agents, and advertisers to provide Plaintiffs with false

   and misleading information. Defendant, Walsh Jr. also met with sales agents, investors, and

   prospective investors multiple times regarding the Greystone Hotel project to provide false and

   misleading information.

        iv.         WWB Trust

           72.        Defendant, Walsh directed Plaintiffs to authorize Defendant, WWB Trust to act as

   the Parties’ escrow agent holding Plaintiffs’ EB-5 investment. Defendant, WWB Trust provided

   escrow agent services to Plaintiffs for their immigration applications and EB-5 investment.

   Defendant, Walsh then, as manager and owner of Defendant, WWB Trust, prevented Plaintiffs

   from receiving neutral, independent escrow protections in relation to Plaintiffs’ immigration

   applications and EB-5 investment.




                                            Page 23 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 24 of 124



          73.     Defendant, Walsh is the sole member of Defendant, USREDA Holdings.

   Beginning in 2016, to prevent criminal and civil liability for the alleged fraud, Defendant, Walsh

   transferred his ownership of various Walsh Entities to Defendant, USREDA Holdings.

      D. THE “VOSOTAS ENTITIES”

          74.     Defendants, D. Vosotas and J. Vosotas own and manage numerous entities

   involved with the Greystone EB-5 Partnership scheme. The Vosotas’ entities consist of:

                  1) United EB5,
                  2) Greystone EB-5 Partnership,
                  3) Greystone Terra Firma,
                  4) Greystone Hotel Miami,
                  5) Greystone Option Holder,
                  6) Greystone Hotel Developer,
                  7) Greystone Managing Member,
                  8) Greystone Tenant,
                  9) Santa Barbara 230,
                  10) VOS Hospitality,
                  11) VOS Holdings I,
                  12) VOS CRE I,
                  13) VOS Manager I, and
                  14) Trans Inns Associates (hereinafter, collectively the “Vosotas Entities”).

          75.     Defendant, J. Vosotas, through the Vostoas Entities, is a Twenty-Five Percent

   (25%) manager/member of the Greystone Properties.

          76.     Defendant, D. Vosotas, though the Vosotas Entities is a Twenty-Five Percent

   (25%) manager/member of the Greystone Properties.

          77.     Additionally, Defendant, Muhl is listed as a manager of the following Vosotas

   Entities: (1) Greystone Terra Firma, (2) Greystone Hotel Developer, (3) Greystone Managing


                                          Page 24 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 25 of 124



   Member, and (4) Greystone Tenant. Defendant, Muhl, through the Vostoas Entities, is a Fifty

   Percent (50%) manager/member of the Greystone Properties.

      E. THE “B GROUP”

          78.        Defendant, Muhl owns and manages BBM 3 and BBM 3 II (collectively,

   hereinafter the “B Group”). Defendant, Muhl is a business partner and associate of Defendants,

   D. Vosotas and J. Vosotas.

      F. THE CREATION OF THE “GREYSTONE EB-5 PARTNERSHIP” SCHEME

          79.        Beginning in 2014, Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group entered into a partnership with Defendants, Walsh and the Walsh Entities

   to obtain EB-5 funding for the Greystone Properties.

          80.        To further this partnership, Defendants, Walsh, the Walsh Entities, D. Vosotas, J.

   Vosotas, the Vosotas Entities, Muhl, and the B Group created Defendant, Greystone EB-5

   Partnership. The managers of Defendant, Greystone EB-5 Partnership are Defendants, Walsh and

   J. Vosotas through their entities Defendants, SARC and United EB5.

          81.        Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group

   then provided information regarding the hotel project to Defendants, Wash and the Walsh

   Entities. This information included current equity, project investments, potential loan and

   mortgage information, development timelines, economic analysis, and the ownership structure of

   the properties.

          82.        Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group then created an Investment Portfolio and advertising materials

   for the Greystone Project.




                                           Page 25 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 26 of 124



          83.     Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group through websites, newsletters, brochures, magazine

   advertisments and sales agents distributed information and advertising materials for the

   Greystone EB-5 Project targeting potential EB-5 investors, particularly in the Chinese market.

      G. THE “GREYSTONE PROPERTIES”

          84.     On February 22, 2012, Defendants, D. Vosotas, J. Vosotas and Muhl created

   Defendant, Greystone Terra Firma.

          85.     Through various entities, Defendants, D. Vosotas, J. Vosotas, and Muhl own and

   manage the Greystone Properties. In fact, Defendants, D. Vosoats, J. Vosotas and Muhl used

   various entities to purchase real property, enter into loan agreements, and assign rights for the

   Greystone Properties.

          86.     More specifically, on or about May 17, 2012, Defendants used Greystone Terra

   Firma to purchase the Greystone Hotel, an abandoned property, located at 1920 Collins Avenue,

   Miami Beach, Florida, and executed a Special Warranty Deed (hereinafter the “1920 Collins Ave.

   Special Warranty Deed”). A true and accurate copy of the 1920 Collins Ave. Special Warranty

   Deed for the property located at 1920 Collins Avenue is attached hereto as Exhibit 2.

          87.     Defendant, Santa Barbara 230 was created in October 21, 2013 and with

   Defendant, J. Vosotas as its manager.

          88.     On or about January 3, 2014, Defendants, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and The B Group used Santa Barbara 230 to purchase the Santa Barbara

   Apartments, the adjacent Hostel/Apartments next to the Greystone Hotel located at 20 230th

   Street, Miami Beach, Florida and, executed a Special Warranty Deed (hereinafter “Santa Barbara




                                           Page 26 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 27 of 124



   Special Warranty Deed”). A true and correct copy of the Santa Barbara Special Warranty Deed is

   attached hereto as Exhibit 3.

          89.     When Plaintiffs made their investments into the Greystone EB-5 Partnership,

   Defendant, Greystone Terra Firma was owned by Defendants, Greystone Hospitality and BBM 3.

   Defendant, Greystone Hospitality is owned and controlled by Defendants, D. Vosotas and J.

   Vosotas.

          90.     On or about January of 2016, Defendants, D. Vosoats, J. Vosotas and Muhl

   transferred Defendant, Greystone Terra Firma to Greystone Delaware Statutory Trust, in

   anticipation of fraud claims, and to prevent criminal and civil liability.

      H. HOW THE GREYSTONE PROJECT PURPORTED TO FUNCTION

          91.     By way of a partnership agreement, security agreement, loan agreement and

   contract, EB-5 clients would invest Five Hundred Thousand Dollars ($500,000.00) into the

   Greystone Partnership in exchange for one (1) partnership share and pay an additional Forty-Five

   Thousand Dollars ($45,000.00) in administrative fees and Fifteen Thousand Dollars ($15,000.00)

   in legal fees. Plaintiffs did so during approximately 2014 to 2017.

          92.     The offering was made to a total of forty-four (44) potential investors for a total

   capital raise of Twenty-Two Million Dollars ($22,000,000.00).

          93.     The funds invested into the Greystone Partnership would be loaned to Defendant,

   Greystone Hotel Miami, an EB-5 job creating entity to develop the Greystone Properties, and

   such loan would be secured by a lien on the Greystone Properties.

          94.     Details of the Greystone EB-5 Partnership investment are stated throughout the

   Greystone Hotel Investment Portfolio, drafted and distributed to Plaintiffs by Defendants, Walsh,




                                           Page 27 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 28 of 124



   the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group. A true

   and accurate copy of the Greystone Hotel Investment Portfolio is attached hereto as Exhibit 4.

          95.     The Investment Portfolio consists of the following agreements: a Limited

   Partnership Agreement, a Subscription Agreement, a PPM, a Legal Service Agreement, an

   Escrow Agreement, a Loan Agreement, a Business Plan, and an Economic Report. See Exhibit 4.

          96.     The summary of the Partnership Agreement, Loan Agreement, PPM, and Escrow

   Agreement is as follows: Plaintiffs would invest in Greystone EB-5 Partnership as limited

   partners, contributing Five Hundred Thousand Dollars ($500,000.00). Defendant, Greystone EB-

   5 Partnership would hold Plaintiffs’ funds in escrow, pending EB-5 processing and approval.

   Upon being released from escrow, the General Partners of Greystone EB-5 Partnership

   (Defendants, Walsh and J. Vosotas, through SARC and United EB-5) would then loan Plaintiffs’

   funds to Defendant, Greystone Hotel Miami to develop the Greystone Project and meet USCIS’s

   EB-5 requirements. Defendant, Walsh acting as General Partner of Defendant, Greystone EB-5

   Partnership and Defendant, J. Vosotas acting as manager of Greystone Hotel Miami had already

   executed the loan agreement stating Plaintiffs’ funds would be used to create ten (10) jobs and

   the Plaintiffs’ investment was secured by collateral, defined in the attached Business Plan as the

   Greystone Properties. Finally, the Partnership Agreement, Escrow Agreement, and Loan

   agreement all stated that if Plaintiffs’ I-526 applications were denied, Plaintiffs would receive a

   full refund, both from Defendant, Greystone Hotel Miami for the amount loaned, and also from

   Defendant, Greystone EB-5 Partnership for any funds still held in escrow.

      I. HOW THE “GREYSTONE PROJECT” ACTUALLY FUNCTIONED

          97.     Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group created a scheme where they, through their entities,


                                         Page 28 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 29 of 124



   acted as Plaintiffs’ attorney, immigration advisor, financial advisor, escrow agent, lender,

   borrower, General Partner, EB-5 Regional Center, and EB-5 developer. By nature of this scheme,

   Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the

   B Group held multiple conflicting fiduciary duties and obligations to Plaintiffs. Defendants,

   Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B

   Group then used their expansive and conflicting representations and obligations to defraud

   Plaintiffs.

           98.    Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group formed a fake escrow account that allowed them to

   misappropriate Plaintiffs’ funds outside the terms of the Investment Portfolio agreements.

   Defendant, WWB Trust, is the purported escrow agent for the Greystone EB-5 Partnership

   overseeing an escrow account at PNC Bank. However, Defendant, WWB Trust was neither a

   neutral nor an independent escrow agent, but rather another entity controlled and managed by

   Defendant, Walsh. Furthermore, the account created at PNC bank where Defendants instructed

   Plaintiffs to wire their funds was not a legitimate escrow account, but a checking account

   controlled by Defendant, Walsh’s entity, SARC.

           99.    Contrary to the agreed investment terms, Plaintiffs’ investment was not protected

   by an escrow agent or held in an escrow account. This allowed Defendants, Walsh, Walsh Jr., the

   Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group to

   misappropriate Plaintiffs’ funds.

           100.   Defendants, Walsh, Walsh Jr., the Walsh Entities, D, Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group knew or should have known Plaintiffs’ funds were not

   managed by a legitimate escrow agent or placed in a legitimate escrow account. Plaintiffs would


                                         Page 29 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 30 of 124



   not have invested in the Greystone Project without the representation that their investment would

   be held in a legitimate escrow account and managed by a legitimate escrow agent.

           101.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group misstated the actual ownership of the Greystone

   Properties on multiple instruments in the Investment Portfolio agreements. Throughout the

   Investment Portfolio, Defendants state that Greystone Hotel Miami is the entity owner of the

   Greystone Properties. The Loan Agreement further states that Defendants, Greystone Hotel

   Miami owns the Greystone Properties without any encumbrances. Defendants, Walsh, Walsh Jr.,

   the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Groups also

   provided Plaintiffs and USCIS with loan documents falsely stating that Defendants, Greystone

   Hotel Miami owned the Greystone Properties. These false loan documents were never filed with

   the Miami-Dade County Clerk of Court. A true and accurate copy of the Loan Document is

   attached hereto as Exhibit 5.

           102.    The Property located at 1920 Collins Avenue, Miami Beach, Florida is owned by

   Defendant, Greystone Terra Firma. At the time investors were defrauded, the Greystone Hotel

   was owned by Defendant, Greystone Terra Firma. Furthermore, Greystone Terra Firm was not

   owned by Defendant, Greystone Hotel Miami. As stated above, Defendants have now transferred

   the Greystone Properties, including the Greystone Hotel, to Greystone Delaware Statutory Trust

   to avoid any liability.

           103.    The property located at 230 20th Street in Miami Beach, Florida is owned by

   Defendant, Santa Barbara 230 LLC. As shown by the various instruments filed with the Miami-

   Dade County Clerk of Court, at the time investors were defrauded Defendant, Santa Barbara 230




                                        Page 30 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 31 of 124



   was owned by Defendants, D. Vosotas, J. Vosotas, and Muhl through their entities SB 230

   Hospitality, LLC and BBM 3 II, not Greystone Hotel Miami.

          104.    Contrary to the agreed investment terms Plaintiffs’ investment was not protected

   by secured collateral. Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas,

   the Vosotas Entities, Muhl, and the B Group offered secured collateral on Plaintiffs’ investment

   on all real property owned by Defendant, Greystone Hotel Miami. This was accompanied by

   supporting documents, a business plan and mortgage agreement, falsely stating Defendant,

   Greystone Hotel Miami owned the Greystone Properties. In reality, Greystone Hotel Miami did

   not title to the Greystone Properties. This allowed Defendants to misappropriate Plaintiffs’ funds

   without fear of Plaintiffs recovering the promised collateral, the Greystone Properties.

          105.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, and the

   Vosotas Entities knew or should have known Greystone Hotel Miami was not the owner of the

   Greystone Properties, that the collateral promised to Plaintiffs in the Greystone Properties was

   fraudulent, and that, if Plaintiffs’ funds were misappropriated, Plaintiffs would not be able to

   recover the secured collateral. Plaintiffs relied on Defendants’ representations and would not

   have invested in the Greystone Project without the representations that their investment was

   secured by collateral in the Greystone Properties.

          106.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group misstated and falsely promised that Plaintiffs’

   investment was secured by a guaranteed return policy. The Loan Agreement executed by

   Defendant, Walsh and J. Vosotas stated that if Plaintiffs’ I-526 application was denied, Plaintiffs

   would receive a full refund from Defendant, Greystone Hotel Miami for the amount loaned. The

   guaranteed return policy was repeated on Defendants’ websites, though Defendants’ sales agents


                                         Page 31 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 32 of 124



   and in promotional materials produced by Defendants. Also, the Escrow Agreement and

   Partnership Agreement state that any funds that remain in escrow will be returned to Plaintiffs if

   their I-526 applications were denied. Defendants misappropriated Plaintiffs’ funds and never

   held them in escrow or loaned the funds to Defendant, Greystone Hotel Miami. As such,

   Plaintiffs were unable to receive their guaranteed return.

          107.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group knew or should have known that Plaintiffs’ funds were

   misappropriated, and Plaintiffs would not receive a guaranteed return if their I-526 applications

   were denied. Plaintiffs would not have invested in the Greystone Project without the

   representation that their investment was secured by guaranteed return policy.

      J. DEFENDANTS’ SOLICIT THE PLAINTIFFS                TO   INVEST   IN   THE FRAUDULENT, NON-
         EXISTENT EB-5 PROJECT

          108.    Beginning in 2014, Defendants, Walsh, Walsh Jr., and Defendants traveled to

   China to solicit the Plaintiffs regarding the EB-5 program at the Greystone Hotel.

          109.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group collaborated to produce and distribute advertisements

   with false and misleading information. The advertisements repeatedly made false and misleading

   statements about: (1) the use of investor funds; (2) the use of an escrow account to hold investor

   funds prior to disbursement to Greystone Hotel Project; (3) the guaranteed return of investors'

   funds if their I-526 Petitions were denied; (4) Walsh and co-conspirators' backgrounds; (5)

   Defendants’ success rate in processing EB-5 applications; (6) Developer's equity in the project;

   and (7) The existence of bank loans in the project. The false and misleading statements in the

   advertisements induced Plaintiffs into investing in the Greystone Project. At the time these

   advertising materials were distributed to Plaintiffs, Defendants, Walsh, Walsh Jr., the Walsh

                                          Page 32 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 33 of 124



   Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group knew, or had reason

   to know the statements were false and or misleading. Plaintiffs would not have invested in the

   project but for the misleading information in the project advertisements.

          110.    Specific examples of misleading and false statements in advertisements produced

   by Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group include the following:

              a. In 2014, WWB, Wealth Without Boarders, EB-5 Magazine controlled by
                  Defendants, Walsh and the Walsh Entities, printed an article featuring the
                  Greystone Hotel and made the following false and misleading information about
                  the Greystone Hotel. True and accurate copies of excerpts from the Wealth
                  Without Boarders EB-5 Magazine are attached hereto as Composite Exhibit 6.

                      i. The Greystone Property was a “historic Miami Beach landmark.”

                     ii. The property’s renovation would include three (3), “food and beverage
                         venues from an award winning, James Bear-nominated chef that appeared
                         on Bravo’s ‘Top Chef.’”

                     iii. The Greystone Property would have a basement speakeasy bar, “slated to
                         become one the area’s most exciting entertainment venues.”

                     iv. The Greystone Property was owned and managed by VOS Hospitality,
                         with over Thirty (30) years of hospitality experience and with noted focus
                         on job creation.

                     v. The Greystone Property had support from the Miami Design Preservation
                         League and Miami Beach Zoning & Planning Board.

                     vi. The Greystone Project will create at least Seven Hundred and Thirty (730)
                         new permanent jobs.




                                         Page 33 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 34 of 124



                 vii. The Greystone Project would only need to create Four Hundred and Forty-
                      Four (440) jobs to comply with EB-5 regulations, implying a limit of
                      Forty-Four (44) EB-5 Investors.

                viii. That SARC was a leading Regional Center and processor of investment-
                      based immigration (EB-5).

                 ix. That a partnership with SARC and VOS Hospitality would provide,
                      “knowledge and expertise that investors can count on.”

                  x. That SARC’s portfolio consisted of “safe and exclusive projects” in the
                      EB-5 Market Place.

                 xi. That EB-5 Loans represented 34.9% of the total project cost, or Twenty-
                      Two million Dollars ($22,000.00).

                 xii. That the Greystone Project had Thirty Million Dollars ($30,000,000.00) in
                      bank financing, or 47.5%.

                xiii. That the Greystone Project had $7.7 million in developer equity, or 12.2%.

                xiv. That the Greystone Project had $3.3 million in historic tax credits, or 5.4%

            b. The WWB, Wealth Without Boarders, EB-5 Magazine also printed a profile of

               Defendant, Walsh as President/CEO of USREDA stating the following false and

               misleading information (See Composite Exhibit 6):

                   i. That Walsh has extensive experience in merger and acquisition strategy
                      and law, including experience in U.S. Security and Exchange law.

                  ii. That Walsh managed several successful mergers of public companies,

                 iii. That Walsh had over thirty (30) years of experience in marketing,
                      development, and process engineering.

                 iv. That USREDA was a global leader in investment immigration.




                                     Page 34 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 35 of 124



                  v. That USREDA’s subsidiaries, SARC and JJW Consultancy, specialized in
                      connecting investors with “emerging organization in key growth sectors.”

            c. A Greystone Hotel brochure produced by Defendants, Walsh, the Walsh Entities,

               D. Vosotas, J. Vosotas, and the Vosotas Entities stated the following false and

               misleading information. A true and accurate copy of the Greystone Hotel brochure

               is attached hereto as Exhibit 7.

                   i. The Greystone Hotel would have Eighty-Eight (88) Rooms.

                  ii. The total building size was Fifty Thousand (50,000) square feet.

                  iii. The total lot size was Twenty Thousand (20,000) square feet.

                  iv. United EB-5 and its affiliates were a “safe and secure investment
                      opportunity.”

                  v. Under the heading, “Job Creation Certainty,” the brochure stated, “The
                      project would create 733.7 jobs, or 16.5 jobs per investor.

                  vi. Under the heading, “Project Completion Certainty” the brochure stated,
                      “The EB-5 Investment will be protected as the Project has been able to
                      secure and fund substantial equity from ownership. This allows the Project
                      to have a low amount of debt as a percentage to the total deal cost.”

                 vii. That United EB-5, “execute[d] the greatest amount of certainty and job
                      growth potential.”

                 viii. That United EB-5 was “owned and operated by seasoned real estate
                      business owners who are also investors, developers and managers of
                      hospitality and commercial real estate.”

                  ix. That SARC was one of the most respected processors of investment-based
                      immigration.




                                       Page 35 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 36 of 124



                  x. That SARC was a federally approved Regional Center and licensed by
                      USCIS to undertake EB-5 projects.

                  xi. That VOS Hospitality, as part of Trans Inns Management, was, “one of the
                      nation’s leading independent full and select service hospitality
                      management companies.”

            d. United EB-5’s webpage was produced by Defendants, D. Vosotas, J. Vosotas, and

               the Vosotas Entities. United EB-5’s webpage is hosted through VOS Hospitality’s

               website domain.    United EB-5’s webpage contained the following false and

               misleading statements. A true and accurate copy of excerpts from United EB-5’s

               webpage is attached hereto as Composite Exhibit 8.

                   i. That USREDA has, “better than 99% approval rate on I-526 petitions-
                      significantly higher than the national USCIS average of 89%.” See Id. at 3.

                  ii. That EB-5 Petition's expert staff has “submitted hundreds of individual
                      client files and are equipped to help EB-5.” immigrant investors navigate
                      the process with success and efficiency.” See Id.

                  iii. United EB-5’s Escrow Services were in line with “Best Practices.” See Id.

                  iv. United EB-5 offered a “Guarantee: Simply stated, You get approved, or
                      your money back!” See Id. at 4.

                  v. United EB-5 offered a “Guarantee: When you file your I-526 application
                      through us you can be assured that we will process the application
                      expeditiously. You can have confidence that our experienced staff will
                      address any areas that may cause a deficiency or regulatory issue.” See Id.
                      at 5.

                  vi. United EB-5 offered a, “Guarantee: For these reasons we are delighted to
                      offer a FULL REFUND in the unlikely event the Immigration Service
                      denies a submission.” See Id. at 6.

                                      Page 36 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 37 of 124



          111.      Defendants, Walsh and Walsh Jr. acting on behalf of the Walsh Entities met with

   clients in person at various Walsh Entities’ offices in China. In these meetings Defendant, J.

   Vosotas acting on behalf of the Vosotas Entities telephonically attended the client meetings. At

   these meetings Defendants, Walsh, Walsh Jr. Walsh Entities, J. Vosotas, and the Vosotas Entities

   made material false and misleading statements regarding: (1) the use of investor funds; (2) the

   use of an escrow account to hold investor funds prior to disbursement to Defendant, Greystone

   Hotel Miami; (3) the existence of conditions precedent to the advancement of loan disbursements

   to Defendant, Greystone Hotel Miami; (4) the guaranteed return of investors' funds if their I-526

   Petition were denied; (5) Defendant, Walsh and co-conspirators' backgrounds; (6) the preparation

   and periodic disclosure to investors of financial reports; (7) Defendant, Greystone Hotel Miami’s

   repayment of the loan; (8) Defendant, Greystone Hotel Miami’s purported ownership of and

   investment in the Greystone Properties, (9) Defendant, Greystone Hotel Miami’s prior to the

   commencement of the Greystone EB-5 Partnership offering; and (10) The existence of a

   mortgage, or other security, the investors held through the Greystone EB-5 Partnership against

   the Greystone Properties to secure their loan and investment. Defendants, Walsh, Walsh Jr. Walsh

   Entities, J. Vosotas, and the Vosotas Entities knew, or had reason to know the statements were

   false and or misleading. Plaintiffs relied on the information provided in these in person meetings.

          112.      Specific examples of misleading and false statements by Defendants, Walsh,

   Walsh Jr., the Walsh Entities, J. Vosotas, and the Vosotas Entities include, but are not limited to

   the following:

              a. On July 28, 2016, Plaintiffs met with Zachary J Franklin, the general manager of
                    SARC and JJW Consultancy, at the company’s Shanghai Office. Defendant, J.
                    Vosotas attended the meeting via teleconference. Defendant, J. Vosotas provided
                    Plaintiffs with false and misleading information as to ownership of the Greystone

                                          Page 37 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 38 of 124



                  Properties, guarantees on the return of Plaintiffs’ investment, and the existence of
                  a mortgage, or other security. Zachary J. Franklin repeated these false and
                  misleading statements and directed Plaintiffs to statements in the Investment
                  Portfolio and offering materials which also repeated the false and misleading
                  statements. Defendant, J. Vosotas finished the call by falsely stating that Plaintiffs,
                  as owners of the Greystone Hotel, would be eligible to live for free at the property
                  upon the projects’ completion.
      K. DEFENDANTS FRAUDULENTLY INDUCE PLAINTIFFS WITH OFFERING MATERIALS, IN
         THE FORM OF AN INVESTMENT PORTFOLIO

          113.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group distributed offering documents and marketing materials

   in the form of an Investment Portfolio to investors. The Investment Portfolio as, stated above,

   included a Limited Partnership Agreement, a Subscription Agreement, a PPM, a Legal Service

   Agreement, an Escrow Agreement, a Loan Agreement, a Business Plan, and an Economic

   Report. Defendants combined these materials into a multi-hundred-page packet that also

   contained an “EB-5 Investor Documents & Process Guide,” a fee agreement, and a

   USREDA/SARC Service Agreement. To streamline and expedite the closing of an investment,

   Defendant, Greystone EB-5 Partnership provided a booklet which contained only the signature

   pages of the documents necessary for investors to make their investments and file their I-526

   Petition with the USCIS. See Exhibit 4.

          114.    The Greystone Partnership's offering materials also included various versions of a

   project brochure that was translated into Chinese.

          115.    Greystone's offering materials appeared under some combination of Greystone

   EB-5 Partnership, Greystone Hotel Miami, VOS Hospitality, Trans Inn Assocs., SARC,

   USREDA, and Greystone Hotel’s names and logos. Defendants, Walsh, Walsh Jr., the Walsh

   Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group provided the
                                          Page 38 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 39 of 124



   Investment Portfolio to solicited Plaintiffs into investing in the Greystone Project. The

   Investment Portfolio repeatedly made the following false or misleading statements regarding (1)

   the use of investor funds; (2) the use of an escrow account to hold investor funds prior to

   disbursement to Greystone Hotel Miami; (3) the existence of conditions precedent to the

   advancement of loan disbursements to Greystone Hotel Miami; (4) the guaranteed return of

   investors' funds if their I-526 Petitions were denied; (5) Walsh and co-conspirators’ backgrounds;

   (6) the preparation and periodic disclosure to investors of financial reports; (7) Greystone Hotel

   Miami’s repayment of the loan; (8) Greystone Hotel Miami’s purported ownership of and

   investment in the Greystone Properties; (9) Greystone Hotel Miami’s prior to the commencement

   of the Greystone EB-5 Partnership offering; and (10) the existence of a mortgage, or other

   security, the investors held through the Greystone EB-5 Partnership against the Greystone

   Properties to secure their loan and investment. At the time the Investment Portfolio was

   distributed to Plaintiffs, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group knew, or had reason to know the statements were false and or

   misleading. Plaintiffs relied on this false and misleading information in determining to invest in

   the Greystone Project.

          116.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group, through the Greystone EB-5 Partnership, solicited

   investors through sales agents. Defendant, Greystone EB-5 Partnership sent an email to the sales

   agents that included links to its investment portfolio, the brochure, and the other advertising

   documents. Each investor or the sales agent for the investor received a copy of the relevant

   offering documents prior to investing.




                                            Page 39 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 40 of 124



          117.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and the B Group, participated in creating Greystone Partnership’s

   offering materials and the drafted Greystone EB-5 Partnership agreement, Greystone Project’s

   business plans, loan documents, subscription, limited partnership, and escrow agreements with

   information provided by Walsh, D. Vosotas J. Vostotas, and Muhl. Walsh and J. Vosotas reviewed

   and approved all of these documents. Walsh and J. Vosotas also signed all the offering materials

   and investment documents as General Partners and managers.

          118.    Specific examples of false and misleading statements in the Investment Portfolio's

   offering materials are as follows:

              a. The Greystone Limited Partnership Agreement signed by Walsh and J. Vosotas
                  falsely stated: (1) Partnership was formed for the purpose of investing in
                  Qualifying Investments under the EB-5 Program. A true and accurate copy of the
                  Greystone Limited Partnership Agreement is attached hereto as Exhibit 9; (2) An
                  escrow account will hold the limited partners’ capital contributions. See Id. at
                  page 6, ¶ 2.1.2; (3) The project was to develop and operate the Greystone Hotel.
                  See Id. at page 5; (4) The capital contributions will be released from escrow under
                  the terms of the escrow agreement. See Id. at page 6; and (5) The General Partners
                  (Walsh and J. Vosotas) shall maintain accurate account and make such accounting
                  available to the limited partners. See Id. at page 12.
              b. The Greystone PPM signed by Walsh and J. Vosotas falsely stated the following.
                  A true and accurate copy of the Greystone PPM is attached hereto as Exhibit 10.
                  (1) The General Partners will provide limited partners addition information
                  regarding the investment (2) The General Partners have a successful history of
                  commercial development, construction, retail, and management experience; (3)
                  The borrower, Greystone Hotel Miami, will use Plaintiffs’ funds to invest in the
                  Greystone Property and fulfill the EB-5 programs job creation requirements; (4)
                  The Greystone Project will create the necessary number of jobs and economic
                  benefits to assure the foreign investor that their application for residence status is

                                          Page 40 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 41 of 124



               and will continue in good standing; (5) The Greystone Partnership will loan the
               proceeds from the offering to the Greystone Project; (6) all subscriptions will be
               paid to an Escrow account under the control of another entity, or Escrow Agent;
               and (7) The Greystone Partnership intended to loan the proceeds of the offering to
               the Greystone Project.
            c. The Escrow Agreement signed by Walsh falsely stated: (1) PNC Bank was an
               “Escrow Bank.” (2) WWB Trust was an “Escrow Agent; (3) The Escrow Agent
               shall hold Plaintiffs’ funds until their I-526 Petitions have been submitted. A true
               and accurate copy of the Escrow Agreement is attached hereto as Exhibit 11.
            d. The loan agreement signed by Walsh and J. Vosotas falsely stated: (1) The
               proceeds of this Loan will be used for Greystone Hotel Miami to develop the
               Greystone Properties. See Exhibit 5; (2) Greystone Hotel Miami shall provide
               Plaintiffs a security interest in the Greystone Properties See Id; (3) Greystone
               Hotel Miami will create ten (10) full time jobs per the EB-5 program See Id; (4)
               Plaintiffs, in the event of default, have the right to foreclose on the Greystone
               Property See Id; (5) Greystone Hotel Miami hold title to the Greystone Properties
               free of encumbrances. See Id; (6) Greystone Hotel Miami conducts business
               solely in its own name and not through any other entities See Id. Plaintiffs shall
               receive a full return/refund of the investment if Plaintiffs’ I-526 application is
               denied. See Id.
            e. The Greystone Comprehensive Business Plan was attached as an exhibit to the
               signed agreements in the Offering Materials. A true and accurate copy of the
               Greystone Comprehensive Business Plan is attached hereto as Exhibit 12. The
               Greystone Business Plan made the following false and misleading statements: (1)
               The Greystone Properties were owned by Greystone Hotel Miami. See Id.; (2)
               The Greystone project anticipated financing of Sixty-Three Million Dollars
               ($63,000,000.00). See Id. (3) That initial sources of financing included debt
               financing of Ten Million Dollars ($10,000,000.00) and equity of Fifteen Million
               Dollars ($15,000,000.00). See Id.; (4) That final sources of financing included a
               first mortgage of Fifteen Million Dollars ($15,000,000.00), equity of Twenty
               Million Dollars ($20,000,000.00), HTC Equity of $6.2 million, and EB-5

                                        Page 41 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 42 of 124



               investments of Twenty-Two Million Dollars ($22,000,000.00). See Id.; (5) That
               the hotel construction would be completed by the fourth quarter of 2015 See Id.;
               and that the project was anticipated to create 733.7 direct and indirect jobs. See Id.

            f. The Subscription Agreement and Partnership Agreement state the following false
               or misleading statements. A true and accurate copy of the Subscription Agreement
               and Partnership Agreement is attached hereto as Exhibit 16. See also Exhibit 8.

                   i. The managers of the General Partner have a successful history of
                      commercial      development,       construction,   retail,   and   management
                      experience.
                  ii. Timeline for acquisition of funding is anticipated to begin in 2014, and
                      construction of the Project to begin concurrently with acquisition of EB-5
                      funding.
                  iii. The Partnership anticipates that the Project will be open for business in
                      2016.
                  iv. Anticipated project costs will be Sixty-Three Million Ninety-Five
                      Thousand and Eight Hundred and Ninety-Eight Dollars ($63,095,898.00).
                   v. The Project shall provide substantial benefits to the regional economy that
                      exceeds the strict USCIS requirements for job creation that will allow a
                      foreign Investor to qualify for an EB-5 Immigration Visa.
                  vi. The Offering provides the Investors with a projected annual dividend.
                 vii. The Partnership will loan the proceeds of the offering to Greystone Project
                      to partially finance the acquisition, development, and operation of the
                      Greystone Properties.
                 viii. To maintain complete security in the payment process for the investor and
                      the partnership, subscription funds will be wired into the Escrow Bank and
                      held in Escrow.
                  ix. The Partnership will furnish financial statements to Limited Partners
                      annually.




                                        Page 42 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 43 of 124




      L. THE FAKE “ESCROW ACCOUNT”

          119.   Defendants created a fake escrow account so they could obtain Plaintiffs’ funds

   without being blocked by standard banking escrow requirements.

          120.   Defendants, Ramirez and PNC, agreed to allow Walsh to create business checking

   account with PNC’s escrow services. The effect of this was to make the business checking

   account appear as a legitimate escrow account to outside investors while providing no actual

   escrow protections (hereinafter the “Fake Escrow Account”).

          121.   To facilitate the fraud and misappropriation of Plaintiffs’ funds, Walsh and Walsh

   Entities sought banking services that would allow them to create an escrow account without

   having to follow standard escrow requirements.

          122.   Walsh and Walsh Entities prior EB-5 Projects had previously used SunTrust

   Bank’s escrow account services. However, SunTrust’s escrow requirements would have

   prevented Walsh and Walsh Entities from carrying out the alleged fraud.

          123.   Walsh enlisted the help of a Walsh Entity employee, Anthony Reitz (hereinafter

   “Reitz”), to coordinate with Defendants Ramirez and PNC and create the fake escrow account.

          124.   Walsh employed Reitz from approximately January 2011 through February 2015

   as the Chief Financial Ofﬁcer of SARC and USREDA. As Walsh's employee, Reitz took orders

   from and directly reported to Walsh.

          125.   Reitz was a former employee of PNC bank and had extensive knowledge of

   PNC’s policies. From his former employment with PNC, Defendant, Reitz had a personal and

   professional relationship with Defendant, Ramirez, a Vice-President at PNC’s Boynton Beach,

   Florida branch. Defendant, Reitz used his contact with Ramirez to set up a meeting with Daniel

   Osaba (hereinafter “Osaba”), a member of PNC’s Treasury Department.

                                          Page 43 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 44 of 124



          126.    Reitz, acting Walsh and the Walsh Entities representative, met with Ramirez and

   Osaba at Walsh's office. At this meeting Reitz disclosed Walsh's EB-5 business and escrow

   requirements and discussed PNC's escrow account requirements and procedures.

          127.    Specifically, Reitz disclosed that (1) Walsh, and Walsh Entities had potential EB-5

   clients/investors from China; (2) Each EB-5 client would invest Five Hundred Thousand Dollars

   ($500,000.00) plus an administrative fee of between Forty Thousand Dollars ($40,000.00) and

   Sixty Thousand Dollars ($60,000.00); (3) Walsh expected total investment in the tens of millions

   of dollars; (4) the EB-5 investment funds were subject to escrow agreements; (5) Walsh and

   Walsh Entities would manage the EB-5 investment on behalf the EB-5 clients; (6) Walsh and

   SARC currently had an escrow account at SunTrust Bank; (7) Walsh was seeking escrow account

   services with less restrictions and oversight; and (8) Walsh and Walsh Entities wanted a PNC

   escrow account that was free of these restrictions and oversight.

          128.    At a second meeting, Reitz was told that PNC, like SunTrust Bank, would require

   SARC and PNC to enter an escrow administration agreement as a prerequisite for creating an

   escrow account. Furthermore, similar to SunTrust Bank, PNC would require Walsh and Walsh

   Entities to strictly follow the terms of the escrow administration agreement.

          129.    This arraignment was unworkable for Walsh as it would prevent him from having

   unrestricted access to the investor's funds. As such, Reitz informed Ramirez and PNC that Walsh

   required a banking arraignment without the restrictions of an escrow administration agreement.

          130.    Ramirez and PNC agreed to accommodate Walsh demands. Ramirez told Reitz

   that “if you need functionality of an escrow account, we can provide the escrow service modules

   with this type of business checking account.” Ramirez and PNC proposed opening a business

   checking account with PNC’s escrow services modules. The effect of this would be to allow


                                         Page 44 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 45 of 124



   Walsh to operate a business checking account that appeared to be an escrow account. However,

   crucially, the account would not in fact be a real escrow account, nor would it have the

   restrictions of a real escrow account.

          131.    Ramirez, PNC agreed to allow Walsh and SARC to open and operate a business

   checking account with PNC’s escrow services. The purpose of this was to make the business

   checking account appear as a legitimate escrow account to outside investors. Walsh and SARC

   would then be able to falsely demonstrate to potential EB-5 investors that their funds were being

   transferred to and held by SARC's “Escrow Account”.

          132.    Ramirez and PNC knew Walsh and Walsh Entities’ account was not a legitimate

   Escrow Account. Ramirez and PNC knew, or should have known, they were assisting Walsh and

   Walsh Entities in creating a fake escrow account.

          133.    On Plaintiffs’ information and belief, Ramirez and PNC’s agreement with Walsh

   violated PNC’s internal rules, regulations and policies.

          134.    Ramirez stood to gain from this agreement by increasing profits for his employer,

   PNC. Through his Vice President position at PNC, Ramirez received increase salary, awards, and

   promotion opportunities for increasing PNC’s deposits. Ramirez’s title, as a Vice President at

   PNC, included Business Banking.

          135.    PNC stood to gain a new business from an account with tens of millions in

   deposits. This included significant service fees, interest, and profits.

          136.    Ramirez and PNC engineered the opening of an Analysis Business Checking

   Account in the name of South Atlantic Regional Center LLC — Greystone EB-5, LLP Escrow

   Account.




                                            Page 45 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 46 of 124



      M. THE PNC WORKAROUND

          137.    In the second step of the Workaround, in order to create the illusion that the

   Analysis Business Checking Account was really an escrow account, PNC changed the name of

   the Fake Escrow Account from South Atlantic Regional Center LLC – Greystone EB-5, LLLP to

   South Atlantic Regional Center LLC —Escrow Account. By so doing, Ramirez and PNC

   knowingly made the Fake Escrow Account look like a legitimate escrow account with speciﬁc

   knowledge that while it was not one, it would appear like one and be used like one. This

   occurred before any of the Plaintiffs were defrauded into wiring money into the Fake Escrow

   Account. Throughout the existence of the Fake Escrow Account, PNC received fees for the

   services it provided to Walsh and Walsh Entities indirectly to Defendants in connection with the

   Fake Escrow Account. In addition, PNC was able to invest the tens of millions of dollars that ran

   through the Fake Escrow Account, for its own beneﬁt, while the money was held in the Fake

   Escrow Account. Ramirez and PNC assisted Walsh in creating a fake Escrow Account which

   appeared to outside investors as a legitimate escrow account protected by PNC’s escrow services.

   This allowed Walsh, the Walsh Entities, and Defendants to, without authorization, misappropriate

   Plaintiffs’ investment.

          138.    PNC had knowledge of the EB-5 program prior to entering this agreement with

   Walsh. PNC’s website included an article entitled “PNC Assists Ironstate Development in

   Rebuilding the Waterfront.” In the

          139.    PNC was also involved in the Navy Pier Court EB-5 Project until well after the

   fraud in this case began. Speciﬁcally, PNC’s Navy Pier Court credit facility was in place through

   February 2019 when it was reﬁnanced.




                                        Page 46 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 47 of 124



          140.      Additionally, PNC also markets itself to the EB-5 investments marketplace, as

   evidenced by the posting dated April 18, 2016, on the website called “EB-5 Investments-The EB-

   5 Investment Marketplace.” This post is still active and available. Thus, PNC cannot feign

   ignorance as to the impact and importance of the Workaround or how critical it is to an EB-5

   Investor to know that her/his money will be held safely in an escrow account pending I-526

   application processing.

          141.      Once the Workaround was fully implemented, there were no further impediments

   to convincing Plaintiffs that their EB-5 investment monies and administrative fees were being

   wired into a legitimate escrow account and would be kept safe and untouched pending the

   processing of their I-526 applications. The creation of the Fake Escrow Account became the

   conduit that fed the Defendants’ fraud machine and was a proximate cause of Plaintiffs’ losses.

          142.      PNC was on notice that Plaintiffs’ believed they were transferring funds to a

   legitimate escrow account as the Plaintiffs’ wire transfers named the receiving account as “EB-5

   Investment Fund Escrow.” True and correct copies of exemplars of invoices are attached hereto

   as Exhibit 14.

      N. UNKNOWINGLY, PLAINTIFFS WERE SENDING MONEY TO THE FAKE ESCROW ACCOUNT

          143.      In reliance upon the existence of the Fake Escrow Account, Plaintiffs each wired

   their respective Five Hundred Thousand Dollars ($500,000.00) EB-5 investments, Forty-Four

   Thousand Dollars ($40,000.00), Sixty Thousand Dollars ($60,000.00) administrative fees into

   what they believed was a legitimate, completely safe escrow account.

          144.      The Workaround, and the resulting Fake Escrow Account, was utilized by Walsh,

   the Walsh Entities, and the Defendants to collect all the funds that they later misappropriated

   from the Plaintiffs.


                                          Page 47 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 48 of 124



          145.     As described above, Ramirez and PNC had speciﬁc knowledge that the Plaintiffs’

   funds that would be deposited into the Fake Escrow Account would be EB-5 investments, and

   they knew, or should have known of the legal implications of that fact. Despite the fact that none

   of Plaintiffs’ EB-5 investment monies were legally permitted to be used for any reason until their

   I-526 Petitions were approved, PNC and Ramirez did absolutely nothing to:

              a. Prevent the Walsh, the Walsh Entities, and Defendants from taking Plaintiffs’
                   money from the Fake Escrow Account;
              b.   Prevent the Walsh, the Walsh Entities, and Defendants from moving the money
                   stolen from the Fake Escrow Account into the Clearing Account;
              c. prevent the Walsh, the Walsh Entities, and Defendants from wiring money out of
                   the Clearing Account to various other companies, individuals, or accounts
                   controlled by the Walsh, the Walsh Entities, and Defendants;
              d. close the Fake Escrow Account until, on information and belief, May 2017;
              e. close the Clearing Account until, on information and belief, May 2017;
              f. inform Plaintiffs of Walsh, the Walsh Entities, and Defendants fraudulent acts;
              g. inform Plaintiffs the misappropriation of their EB-5 investment monies from the
                   Fake Escrow Account; or
              h. inform Plaintiffs of the further transfer of the EB-5 investment monies out of the
                   Clearing Account.

      O. DEFENDANTS’ FRAUD CONTINUED

          146.     Beginning in 2017, Plaintiffs began receiving requests from USCIS to provide

   additional evidence to support their EB-5 Petitions.

              a. Defendants, J. Vosotas, D. Vosotas, Muhl, and Walsh provided false and
                   misleading information to Plaintiff’s immigration attorneys in an attempt to hide
                   and conceal the ongoing fraud. Such false and misleading information included
                   photos of ongoing construction of the Greystone Hotel, falsely claimed to be

                                         Page 48 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 49 of 124



                   construction of the Santa Barbara Apartments. True and correct copies of the
                   Construction Photos are attached hereto as Composite Exhibit 15.
              b. A Loan Agreement falsely stating ownership and financing of the Santa Barbara
                   Apartments (hereinafter “Santa Barbara 230 Loan Agreement). A true and correct
                   copy of the Santa Barbara 230 Loan Agreement is attached hereto as Exhibit 16.
              c. An Ownership Chart falsely stating ownership of the Santa Barbara Apartments. A
                   true and correct copy of the Ownership Chart is attached hereto as Exhibit 17.

      P. PLAINTIFFS’ I-526 PETITIONS ARE DENIED BY USCIS
          147.     Plaintiffs were approved as accredited investors and their petitions were accepted

   within SARC’s program for the Greystone EB-5 Partnership investment.

          148.     Plaintiffs diligently submitted all necessary paperwork in conjunction with their I-

   526 Petitions, asserting eligibility based on an investment in a Regional Center through

   Greystone Partnership and SARC.

          149.     Plaintiffs’ Form I-526 Petitions were denied by USCIS for failure to establish by a

   preponderance of the evidence that the Form I-526 Petitions complied with the applicable legal

   requirements.

          150.     USCIS cited the following deficiencies: (1) failure to demonstrate the creation of

   jobs, (2) failure to demonstrate Plaintiffs’ investment had been loaned to Greystone Hotel Miami,

   (3) failure to demonstrate construction was underway at the properties, and (4) failure to

   demonstrate bank loans had been obtained.

          151.     The deficiencies cited by USCIS were based on actions taken and documents

   provided by Greystone EB-5 Partnership, and over which Plaintiffs had absolutely no control.

          152.     Plaintiffs demanded the return of their funds.

          153.     In response to Plaintiffs’ demands, no funds were returned to Plaintiffs.



                                          Page 49 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 50 of 124



          154.     Instead, Defendants have ceased all communication with Plaintiffs and

   wrongfully retained the Plaintiffs’ investment funds.

      Q. DEFENDANTS’ FRAUD AND THEFT ARE DISCOVERED

          155.     Upon investigation, Plaintiffs discovered that a seemingly endless laundry list of

   fraudulent representations were perpetrated upon them in furtherance of obtaining and stealing

   their money.

          156.     Greystone EB-5 Partnership was not a legitimate EB-5 project, but rather a façade

   and a vehicle meant only to defraud investors. Defendants used Greystone Partnership to take

   advantage of and steal at least Four Million Dollars ($4,000,000.00) from over at least Eight (8)

   foreign nationals seeking EB-5 visas and a better life for their families in the United States.

          157.     Plaintiffs have discovered that their funds were not held in a true Escrow Account

   as promised by Defendants and in completely violation of the agreements.

          158.     In violation of all written and oral representations, Plaintiffs’ funds were

   immediately transferred from the fraudulent Escrow Account to other accounts controlled by the

   conspirators.

          159.     As the Plaintiffs’ funds were not used in furtherance of the project, no jobs were

   created, and none of the Plaintiffs were eligible for an EB-5 Visa.

          160.     Specifically, none of Plaintiffs’ funds were sent to the project or anyone

   purportedly associated with the development of the project.

          161.     As discussed more fully above, most of the representations within the Investment

   Portfolio's offering materials were knowingly false or misleading.




                                          Page 50 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 51 of 124



          162.    The representations that there was a One Hundred Percent (100%) guaranty for

   the return of Plaintiffs’ investment and fees in the event their I-526 Petition was denied were

   knowingly false.

          163.    The representations that Plaintiffs’ funds would be held in escrow unless and until

   USCIS approved their I-526 applications were knowingly false.

          164.    The representations that Plaintiffs would receive their money back upon an

   official denial of their I-526 applications by USCIS were knowingly false.

          165.    The representations that Plaintiffs’ funds would be returned within Ninety (90)

   days of denial of their I-526 applications were knowingly false, and such representation solely

   used to induce the Plaintiffs.

          166.    The representations that a maximum of Forty-Four (44) investors in the Greystone

   EB-5 Partnership would be sold were knowingly false.

          167.    The representations that the funds would be exclusively invested in the Greystone

   Hotel to create jobs by helping to finish the renovation and development were knowingly false.

   Virtually none of the funds were used at the project.

          168.    The representations that USREDA guaranteed the approval of any I-526

   application it completed and that it would return all service fees in the event of denial were

   knowingly false.

          169.    Plaintiffs’ investigation has revealed that the representations that the developer

   had “invested” $7.7 million of their own equity into the project were misleading and knowingly

   false. In truth, no “equity” was invested by the developer, as they acquired the property with little

   or no cash paid.




                                          Page 51 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 52 of 124



          170.    The representations that Plaintiffs’ funds were in addition to an equity investment

   by the developer in excess of $7.7 million and a bank loan in excess of Thirty Million Dollars

   ($30,000,000.00) so that Plaintiffs’ funds constitute less than 34.9% of the project funding were

   knowingly false.

          171.    The representations that a bank had provided funding in excess of Thirty Million

   Dollars ($30,000,000.00) and that the bank had undertaken due diligence on the project prior to

   making the loan were knowingly false. Indeed, there was no bank loan, and no due diligence

   undertaken by any bank.

          172.    The representations that the funds would create ten (10) full-time jobs for each

   Five Hundred Thousand Dollars ($500,000.00) advanced were knowingly false.

          173.    In fact, the representations that the project was in progress, “very near

   completion,” and would be complete for “Season” of 2016 were knowingly false.

          174.    The representations that the job count for the project was Seven Hundred and

   Thirty (730) jobs were knowingly false.

          175.    The representations that Plaintiffs need not worry if the project will perform and

   meet the rigid standards required by USCIS were knowingly false.

          176.    The representations that Walsh had experience in securities was knowingly false.

          177.    The representations that VOS Hospitality had experience in generating jobs for

   EB-5 related projects was knowingly false.

          178.    The representations that each investor’s investment would be fully secured by the
   real property at issue were knowingly false.

          179.    The Loan Documents specifically stated that the loan to Greystone Project was

   dependent on USCIS’ approval of Plaintiffs’ I-526 Petitions.


                                         Page 52 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 53 of 124



          180.    As owners and/or managers and/or agents of Greystone EB-5 Partnership, J.

   Vosotas knew that none of Plaintiffs’ funds could be used unless and until Plaintiffs’ I-526

   Petitions had been approved by USCIS.

          181.    While none of Plaintiffs’ I-526 Petitions were approved, Defendants took

   Plaintiffs’ money anyway, further demonstrating their intent to defraud the Plaintiffs.

          182.    SARC, Walsh, J. Vosotas and United EB5, LLC owed Plaintiffs a fiduciary duty

   to protect their funds, not steal their funds, and not allow their release for use at Greystone Hotel

   Miami unless and until the Plaintiffs’ I-526 Petitions were approved by USCIS.

          183.    Defendants acted with willful, reckless, grossly negligent and malicious intent in

   taking the alleged above actions.

      R. THE “GREYSTONE EB-5 PARTNERSHIP” SCHEME WAS BASED ON A SERIES OF
         FRAUDULENT MISREPRESENTATIONS

         i.   Material Misrepresentations and Omissions to Greystone EB-5 Investors

          184.    Defendants misrepresented the ownership of the Greystone Properties.

          185.     Throughout the Offering Materials, Defendants misrepresented that Greystone

   Hotel Miami either directly owned, or owned the subsidiaries Defendants, Greystone Terra Firma

   and Santa Barbara 230.

          186.    In reality, as shown on multiple mortgages, deeds, and other instruments filed

   with the Miami-Dade Clerk of Court, Defendant, Greystone Hotel Miami held no ownership

   interest in the Greystone Properties.

        ii.   Misrepresentations Regarding Escrow Requirements and the Return of Investor
              Funds
           187.   From 2014 to 2016, Greystone EB-5 Partnership’s offering materials contained

   material misrepresentations regarding Greystone Partnership use of an escrow account for


                                           Page 53 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 54 of 124



   investor funds. Greystone Partnership falsely and fraudulently claimed that investor funds would

   be held in an escrow account at PNC Bank, pursuant to an escrow agreement between Greystone

   EB-5 Partnership, WWB Trust, and PNC Bank, through at least the filing of the investor's 1-526

   petition. Contrary to these representations, no escrow account even existed for investor funds.

   Prior to the Greystone offering, the former CFO for SARC and USREDA informed Walsh that

   the account receiving investor funds would not even be administered by PNC Bank.

          188.    Greystone     Partnership’s    offering    materials    also   contained   material

   misrepresentations regarding the return of funds paid by investors. Greystone Hotel Miami and

   Greystone EB-5 Partnership falsely and fraudulently stated that if an investor's 1-526 petition

   were denied by the USCIS for reasons "within the control" of Greystone Partnership investor's

   funds would be returned without deduction. The offering materials and SARC's own website also

   falsely, fraudulently, and repeatedly stated that investors' funds would be returned.

          189.    Defendants knew or recklessly disregarded that Defendants, Greystone Hotel

   Miami, Greystone EB-5 Partnership, USREDA and SARC would not be able to repay investors

   whose petitions were denied because they misappropriated for their own use, millions of dollars

   of investor funds, and never escrowed investor funds prior to their release to Greystone Project.

          190.    To date, the USCIS has denied all of the investor 1-526 petitions. USCIS denied

   the I-526 Petitions because, among other reasons, investors failed to demonstrate that the

   Greystone Hotel project would create sufficient jobs, and failure to prove the investors’ funds

   had been allocated to the development.

          191.    Defendants and their employees orally repeated the misrepresentations.

          192.    Defendants and their employees through electronic messengering services and

   email repeated the misrepresentations.


                                          Page 54 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 55 of 124



              193.   Defendants never returned any money to investors.

       iii.      Misrepresentations and Omissions Regarding Defendant, Walsh and the
                 Developer’s Backgrounds
              194.   Defendant,   Greystone    EB-5     Partnership’s    business   plans   contained

   misrepresentations and omissions regarding the backgrounds of Defendants, Walsh and J.

   Vosotas, who are both described in a section on "Management." The description of Walsh's

   background, which he drafted, stated that he "has extensive experience in merger and acquisition

   strategy and law" and experience with "the intricacies of U.S. Securities and Exchange laws."

   Walsh did not have any such merger and acquisition or securities law experience. This

   misrepresentation and omission is repeated in brochures and other advertisements for the project.

              195.   The offering materials also included a section on J. Vosotas stating VOS

   Hospitality had over Thirty (30) years of hospitality experience and with noted focus on job

   creation.

        iv.      Other Misrepresentations to the Greystone EB-5 Partnership Investors
           196.      Greystone Partnership’s offering materials also materially misrepresented the

   conditions under which investor funds would be loaned to Greystone Hotel Miami. In particular,

   the PPMs stated, "it shall be a condition of each advance that as of such time there shall not have

   been a material adverse change in the operations, assets or financial condition of the borrower

   and its subsidiaries, taken as a whole."

          197.       The loan documents made similar representations and stated that the

   determination as to material adverse changes would be made by Greystone EB-5 Partnership.

   Walsh, J. Vosotas, and Greystone EB-5 Partnership never ascertained whether Greystone Hotel

   Miami met these pre-conditions for any loan advance. Despite being granted the authority by the




                                           Page 55 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 56 of 124



   loan documents to access Greystone Hotel Miami’s financial statements and the right to inspect

   its books and records, Greystone Partnership never exercised this authority.

          198.    The offering materials also materially misrepresented that Greystone EB-5

   Partnership would provide audited financial statements or other financial information to

   investors on an annual or quarterly basis. Greystone EB-5 Partnership never prepared audited

   financial statements and did not provide audited statements, or any other financial reports, to

   investors.

          199.    The offering materials also misrepresented that Greystone Hotel Miami would

   make monthly interest payments to Greystone EB-5 Partnership on its loan for five (5) years.

   Greystone Hotel Miami did not make any monthly interest payments to Greystone EB-5

   Partnership.

          200.    In order to bolster investor confidence in Greystone EB-5 Partnership investment

   offering, Greystone’s business plans and brochures also made materially misleading statements

   suggesting that Greystone Hotel Miami had substantial funds at stake in the Greystone

   Properites, and that investor funds were only part of an already well-financed development

   project. Based on information provided in part by J. Vosotas, Greystone EB-5 Partnership’s

   business plans falsely and fraudulently represented that Greystone Project had $7.7 million in

   equity in the Greystone Hotel, and the brochures fraudulently stated the project was "very safe"

   based in part on a substantial equity investment from Greystone Hotel Miami. In reality, the

   Greystone Properties were financially distresses, and J. Vosotas, through his various entities

   purchased them with limited equity. J. Vosotas also failed to disclose the properties were

   financed with an initial, undisclosed Five Million Dollar ($5,000,000.00) mortgage from BBM3

   II and BBM3 and no equity from the developer.


                                         Page 56 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 57 of 124



         v.      Defendants Fraudulently Induced Plaintiff’s to Invest in the Greystone EB-5
                 Partnership
             201.    In reliance on the Offering Documents, the USCIS Approval, the Websites, and

   the oral representations described above, each of the Plaintiffs provided Five Hundred Thousand

   Dollars ($500,000.00) for a limited partnership unit in Greystone Partnership, along with an

   administrative fee of Forty-Five Thousand Dollars ($45,000.00) and legal services fee of Fifteen

   Thousand Dollars ($15,000.00). A true and accurate copy of a Certificate of Limited Partnership

   Interest is attached hereto as Exhibit 18.

             202.    Each of the Plaintiffs received confirmation that their Five Hundred Thousand

   Dollar ($500,000.00) investment, Forty-Five Thousand Dollars ($45,000.00), Sixty Thousand

   Dollar ($60,000.00) administrative fee, and Fifteen Thousand Dollar ($15,000.00) legal services

   fee had been received.

             203.    In providing their money, Plaintiffs relied upon the representation that there was a

   100% guaranty for the return of their investment and fees in the event their I-526 Petition was

   denied.

              204.   In providing their money, Plaintiffs relied upon the Escrow Representation, and

   understood that their money would be held in escrow unless escrow conditions were met.

              205.   In providing their money, Plaintiffs relied upon the representation that if their I-

   526 Petition was denied, their funds would be returned within 90 days.

              206.   In providing their money, Plaintiffs relied upon the representation that only 44

   limited partnership units in Greystone EB-5 Partnership would be offered. This representation

   was material because, if there were too many investors, not enough jobs would be created per

   investor and they would be unable to obtain the EB-5 visas. Further, this information was relied

   upon in calculating each investors’ ability to obtain a return on their investment.

                                            Page 57 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 58 of 124



           207.    In providing their money, Plaintiffs relied upon the representation that their funds

   would be exclusively invested in the Greystone Hotel Miami to create jobs by helping to finish

   the renovation and development of the Greystone Hotel.

           208.    In providing their money, Plaintiffs relied upon the representation that Defendant,

   USREDA guaranteed the approval of any I-526 application it completed and that it would return

   all service fees in the event of denial.

           209.    In providing their money, Plaintiffs relied upon the representation by Defendant,

   United EB-5 that the General Partners had a historic “99%” success rate with I-526 petitions.

           210.    In providing their money, Plaintiffs relied upon the representation that their funds

   were in addition to an equity investment by the developer in excess of $7.7 million and a bank

   loan in excess of Thirty Million Dollar ($30,000.00), so that Plaintiffs’ funds constituted less

   than 34.9% of the project’s funding. Plaintiffs relied upon the fact that a bank conducted

   significant due diligence on the viability of the project prior to giving a Thirty Million Dollar

   ($30,000.00) loan.

           211.    In providing their money, Plaintiffs relied upon the representation that their funds

   would be held in escrow, and were not yet needed, because the developer’s investment in excess

   of $7.7 million and a bank loan in excess of Thirty Million Dollars ($30,000.00) were being used

   for construction.

           212.    In providing their money, Plaintiffs relied upon the representation that their funds

   would not be taken from the escrow account, and would not be used, unless and until the

   developer’s investment in excess of $7.7 million and the bank funds in excess of Thirty Million

   Dollars ($30,000.00) had been used at the project.




                                              Page 58 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 59 of 124



           213.    In providing their money, Plaintiffs relied upon the representation that a bank had

   provided funding in excess of Thirty Million Dollar ($30,000.00), that these funds were being

   used for ongoing construction at the project, and that a bank had undertaken due diligence on the

   project.

           214.    In providing their money, Plaintiffs relied upon the representation that their funds

   would be used exclusively to develop the hotel and create at least ten (10) jobs per investor.

           215.    In providing their money, Plaintiffs relied upon the representation that the project

   was in progress, “very near completion,” and would be complete for “the 2016 season”

           216.    In providing their money, Plaintiffs relied upon the representation that the job

   count for the Greystone Hotel project was 733.7 jobs, while the project needed only Four

   Hundred and Forty-Four (440) jobs.

           217.    In providing their money, Plaintiffs relied upon the representation that they need

   not worry if the project will perform and meet the rigid standards required by the USCIS.

   In providing their money, Plaintiffs relied upon the representation that each investor’s investment

   would be fully secured by the real property at issue.

                  COUNT 1 – Violation of Florida Securities and Investor Protection Act,
                                    Florida Statutes 517.301(1)(a)
                                           (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           218.    Defendants solicited monies for the purchase and sale of securities in the

   Greystone EB-5 Partnership.

           219.    “Sale” or “sell” means any contract of sale or disposition of any investment,

   security, or interest in a security, for value. With respect to a security or interest in a security, the


                                            Page 59 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 60 of 124



   term defined in this subsection does not include preliminary negotiations or agreements between

   an issuer or any person on whose behalf an offering is to be made and any underwriter or among

   underwriters who are or are to be in privity of contract with an issuer. Any security given or

   delivered with, or as a bonus on account of, any purchase of securities or any other thing shall be

   conclusively presumed to constitute a part of the subject of such purchase and to have been

   offered and sold for value. Every sale or offer of a warrant or right to purchase or subscribe to

   another security of the same or another issuer, as well as every sale or offer of a security which

   gives the holder a present or future right or privilege to convert into another security or another

   issuer, is considered to include an offer of the other security.

          220.     “In an action for rescission [a] purchaser may recover the consideration paid for

   the security or investment, plus interest thereon at the legal rate, less the amount of any income

   received by the purchaser on the security or investment upon tender of the security or

   investment.” Fla. Stat. § 517.211(3).

          221.    On behalf of themselves and Defendants, Greystone EB-5 Partnership and the

   Walsh Entities, Defendants made false representations to Plaintiffs, including: (1) the use of

   investor funds; (2) the use of an escrow account to hold investor funds prior to disbursement to

   Greystone Hotel Miami; (3) the existence of conditions precedent to the advancement of loan

   disbursements to Greystone Hotel Miami; (4) the guaranteed return of investors’ funds of

   Plaintiffs’ I-526 Petitions were denied; (5) Defendant, Walsh and co-conspirators' backgrounds;

   (6) the preparation and periodic disclosure to investors of financial reports; (7) Greystone Hotel

   Miami’s repayment of the loan; (8) Greystone Hotel Miami’s purported ownership of and

   investment in the Greystone Properties; (9) advertisements of Greystone Hotel Miami

   development prior to the commencement of the Greystone EB-5 Partnership offering; and (10)


                                           Page 60 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 61 of 124



   the existence of a mortgage, or other security, the investors held through the Greystone EB-5

   Partnership against the Greystone Properties to secure their loan and investment.

          222.     Defendant, Walsh, in connection with the offer, sale or purchase of any

   investment or security, including any security exempted under the provision of Fla. Stat. §

   517.051 and including any security sold in a transaction exempted under the provision of Fla.

   Stat. § 517.061:

                a. Directly or indirectly employed a device, scheme, or artifice and defraud;
                b. Obtained money by means of untrue statements of material fact;
                c. Omitted a material fact necessary in order to make the statements made, in the
                   light of the circumstances under which they were made, not misleading; and
           d.      Engaged in a transaction, practice or course of business which operates or would
                   operate as a fraud or deceit upon the Plaintiffs.
          223.     Defendant, Walsh employed a scheme to defraud Plaintiffs into making an

   investment in Greystone EB-5 Project.

          224.     Defendant, Walsh obtained the Plaintiffs money by means of untrue statements of

   material facts, including the Escrow Representation.

          225.     Defendant, Walsh engaged in transactions, practices and a course of business that

   operated as a fraud on the Plaintiffs.

          226.     Defendant, Walsh acted with scienter, and knew that their representations were

   false, and intended that the Plaintiffs rely upon the representations and be induced by them to

   invest their money into the Greystone Project.

          227.     Defendant, Walsh knew there was no intention to hold the Plaintiffs’ funds in

   escrow unless and until their I-526 applications were approved by USCIS.

          228.     Plaintiffs relied upon the representations of Defendant, Walsh and tendered

   payment to Defendant, Walsh.

                                            Page 61 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 62 of 124



           229.    Defendant, Walsh participated directly in making the sale of the Greystone

   Project that resulted in a direct harm to the Plaintiffs.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request that the Court enter judgment in favor of Plaintiffs and against De-

   fendant, JOSEPH WALSH awarding Plaintiffs monetary damages in the amount of the consider-

   ation paid for the investment, plus interest thereon at the legal rate, less the amount of any in-

   come received by the Plaintiffs (which is zero); reasonable attorneys’ fees and legal costs pursu-

   ant to Fla. Stat. §517.211(6) and further relief this Court deems just and proper.

                                           COUNT 2 - Conversion
                                             (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           230.    Defendant, Walsh’s improper taking and retention of property and investor

   payments which belong to Plaintiffs, gives rise to a claim for conversion in that Defendant,

   Walsh has, without authorization, asserted dominion and control over the funds which are the

   specifically identifiable property of the Plaintiffs and are or were the property of the Plaintiffs

   and which were owned or payable to Plaintiffs.

           231.    Defendant, Walsh’s conversion is inconsistent with Plaintiffs’ rights and

   ownership to said property.

           232.    The payments and property wrongfully converted by Defendant, Walsh is specific

   and identifiable.

           233.    By virtue of Defendant, Walsh’s repeated and continued misappropriation and

   conversion of Plaintiffs’ property, Defendant has caused Plaintiffs substantial damage.

                                           Page 62 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 63 of 124



           234.    Plaintiffs have made demands for the return of their property, but the funds have

   not been returned. Moreover, a demand for the return of Plaintiffs’ funds would be futile.

   Defendant, Walsh has been confronted with the fact that he stole and converted Plaintiffs’

   property, but have failed to return all of the property to Plaintiffs.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                           COUNT 3 - Conversion
                                          (Defendants, Walsh Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           235.    The Walsh Entities, Defendants, SARC, WWB TRUST, USREDA, USREDA

   Holdings and JJW Consultancy’s improper taking and retention of property and investor

   payments which belong to Plaintiffs, gives rise to a claim for conversion in that Defendants, the

   Walsh Entities have, without authorization, asserted dominion and control over the funds which

   are the specifically identifiable property of the Plaintiffs and are or were the property of the

   Plaintiffs and which were owned or payable to Plaintiffs.

           236.    Defendants, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW

   Consultancy’s conversion is inconsistent with Plaintiffs’ rights and ownership to said property.

           237.    The payments and property wrongfully converted by Defendants, SARC, WWB

   TRUST, USREDA, USREDA Holdings and JJW Consultancy is specific and identifiable.



                                           Page 63 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 64 of 124



           238.    By virtue of Defendants, SARC, WWB TRUST, USREDA, USREDA Holdings

   and JJW Consultancy’s repeated and continued misappropriation and conversion of Plaintiffs’

   property, Defendants have caused Plaintiffs substantial damage.

           239.    Plaintiffs have made demands for the return of their property, but the funds have

   not been returned. Moreover, a demand for the return of Plaintiffs’ funds would be futile.

           240.    Defendants, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW

   Consultancy has been confronted with the fact that he stole and converted Plaintiffs’ property,

   but have failed to return all of the property to Plaintiffs.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants, JOSEPH WALSH, SOUTH ATLANTIC REGIONAL CENTER, LLC, WWB

   TRUST, LLC, USREDA, LLC, USREDA HOLDINGS, LLC, JJW CONSULTANCY, LTD., for

   damages, attorneys’ fees, litigation costs, and for any such other and further relief as this Court

   deems just and proper.

                                COUNT 4 - Aiding and Abetting Conversion
                                         (Defendant, J. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           241.    Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and

   JJW Consultancy misappropriated and converted Plaintiffs’ property.

           242.    Defendant, J. Vosotas had speciﬁc knowledge that Plaintiffs’ property was

   converted.



                                            Page 64 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 65 of 124



          243.    Defendant, J. Vosotas knew should have known Plaintiffs’ funds were supposed to

   be held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

          244.    Defendant, J. Vosotas knew or should have known that Plaintiffs' investment

   funds were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to

   develop the Greystone Properties.

          245.    Defendant, J. Vosotas knew, or should have known, that Walsh had

   misappropriated and converted Plaintiffs’ property.

          246.    Defendant, J. Vosotas through his role as manager of the Vosotas Entities

   (Greystone EB-5 Partnership, United EB5, Greystone Terra Firma, Santa Barbara 230, Greystone

   Hotel Miami, Greystone Option Holder, VOS Hospitality, VOS Holdings I, Vos Associate, VOS

   CRE I, Greystone Hotel Developer, and Greystone Managing Member, Greystone Tenant) had

   specific knowledge that Plaintiffs’ investment had been misappropriated and converted.

          247.    Defendant, J. Vosotas, as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

          248.    Defendant, J. Vosotas as a General Partner of Greystone EB-5 LLLP had specific

   knowledge that Plaintiffs’ investment had been misappropriated and converted.

          249.    Defendant, J. Vosotas provided substantial assistance to advance the commission

   of the conversion.

          250.    Defendant, J. Vosotas in a teleconference meeting with Plaintiffs made multiple

   misrepresentations to Plaintiffs including (1) the ownership of the Greystone Properties, (2) the

   existence of a security interest or collateral, (3) the existence of a legitimate escrow account to


                                         Page 65 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 66 of 124



   hold Plaintiffs’ funds, and (4) that Plaintiffs, as owners of the Greystone Hotel, could live there

   for free after their EB-5 Visas were approved.

          251.    Defendant, J. Vosotas produced a website that made multiple misrepresentations

   to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2)

   a 99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          252.     Defendant, J. Vosotas, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project

   managers’ EB-5 experience, (5) the development timeline, and (6) the existence of bank and

   third-party investment in the project.

          253.    Defendant, J. Vosotas partnered with Walsh and represented himself as a project

   manager in the Greystone Project’s advertisements and the Offering Materials.

          254.    In conclusion, Defendant, J. Vosotas, knowingly aided and abetted the conversion

   of Plaintiffs’ EB-5 investment. Defendant, J. Vosotas substantially assisted or enabled the

   conversion of Plaintiffs’ EB-5 investment monies.

          255.    Plaintiffs were severely damaged by the actions of Defendant, J. Vosotas

          WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, JAMES VOSOTAS for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.




                                            Page 66 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 67 of 124



                                COUNT 5 - Aiding and Abetting Conversion
                                        (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           256.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW Consultancy

   misappropriated and converted Plaintiffs’ property.

           257.    Defendant, D. Vosotas had speciﬁc knowledge that Plaintiffs’ property was

   converted.

           258.     Defendant, D. Vosotas knew should have known Plaintiffs’ funds were supposed

   to be held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

           259.    Defendant, D. Vosotas knew or should have known that Plaintiffs' investment

   funds were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to

   develop the Greystone Properties.

           260.    Defendant, D. Vosotas knew, or should have known, that Walsh had

   misappropriated and converted Plaintiffs’ property.

           261.    Defendant, D. Vosotas through his role as manager of the Vosotas Entities (Trans

   Inn Associates, VOS Holdings, and VOS CRE I) had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

           262.    Defendant, D. Vosotas as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

                                          Page 67 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 68 of 124



          263.    Defendant, D. Vosotas provided substantial assistance to advance the commission

   of the conversion.

          264.    Defendant, D. Vosotas, or his authorized agents, met with Plaintiffs to discuss

   their potential investment in the Greystone Project. Representations made by Defendant, D.

   Vostoas and/or his agents gave credibility to Defendant, Walsh and the Greystone Project.

          265.    Defendant, D. Vosotas produced a website that made multiple misrepresentations

   to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2)

   a 99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          266.     Defendant, D. Vosotas, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project

   managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank and

   third-party investment in the project.

          267.     Defendant, D. Vosotas partnered with Walsh and represented himself as a project

   manager in the Greystone Project’s advertisements and the Offering Materials. Defendant, D.

   Vosotas’s reputation, as a purported experienced developer and manager of hotels in the Miami

   Florida market was essential in giving Walsh credibility in the EB-5 offering.

          268.    Defendant, D. Vosotas, knowingly aided and abetted the conversion of Plaintiffs’

   EB-5 investment. Defendant, D. Vosotas substantially assisted or enabled the conversion of

   Plaintiffs’ EB-5 investment monies.

          269.    Plaintiffs were severely damaged by the actions of Defendant, D. Vosotas.




                                            Page 68 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 69 of 124



           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, DANIEL VOSOTAS, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 6 - Aiding and Abetting Conversion
                                           (Defendant, Muhl)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           270.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW Consultancy

   misappropriated and converted Plaintiffs’ property.

           271.    Defendant, Muhl had speciﬁc knowledge that Plaintiffs’ property was converted.

           272.    Defendant, Muhl knew should have known Plaintiffs’ funds were supposed to be

   held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

           273.    Defendant, Muhl knew or should have known that Plaintiffs' investment funds

   were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop

   the Greystone Properties.

           274.    Defendant, Muhl knew, or should have known, that Walsh had misappropriated

   and converted Plaintiffs’ property.




                                          Page 69 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 70 of 124



          275.    Defendant, Muhl through his role as manager of the Vosotas Entities (Greystone

   Terra Firma, Greystone Hotel Developer, Greystone Managing Member, and Greystone Tenant)

   had specific knowledge that Plaintiffs’ investment had been misappropriated and converted.

          276.    Defendant, Muhl as 50% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

          277.    Defendant, Muhl provided substantial assistance to advance the commission of

   the conversion.

          278.       Defendant, Muhl through the Muhl Entities (BBM3 and BBM3 II) provided the

   initial funding to purchase the Greystone Properties.

          279.       Defendant, Muhl traveled to China and Hong Kong to advertise EB-5 projects,

   including the Greystone Project.

          280.       Defendant, Muhl delayed in filing various mortgages, notices, and lease

   agreements in regards to the Greystone Properties. The only reasonable explanation for this delay

   was to prevent public disclosure, and Plaintiffs’ discovery of true ownership structure of the

   Greystone Properties.

          281.    Defendant, Muhl produced a website that made multiple misrepresentations to

   induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          282.       Defendant, Muhl provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project


                                         Page 70 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 71 of 124



   managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank and

   third-party investment in the project.

           283.    Defendant, Muhl, knowingly aided and abetted the conversion of Plaintiffs’ EB-5

   investment. Defendant, Muhl substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies.

           284.    Plaintiffs were severely damaged by the actions of Defendant, Muhl.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, BRANDEN MUHL, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 7 - Aiding and Abetting Conversion
                                     (Defendants, Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           285.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW Consultancy

   misappropriated and converted Plaintiffs’ property.

           286.    Defendants, Vosotas Entities (Greystone Hotel Miami, United EB5, Santa Barbara

   230, Greystone Terra Firma, VOS Holdings I, VOS CRE I, Greystone Hospitality, Greystone

   Holdco, Greystone Managing Member, Greystone Master Tenant, Greystone Tenant, Greystone

   Option Holder, Trans Inns Associates, VOS Hospitality, and Greystone Managing Member) had

   Speciﬁc Knowledge that Plaintiffs’ property was Converted.

                                            Page 71 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 72 of 124



          287.    Defendants, Vosotas Entities knew should have known Plaintiffs’ funds were

   supposed to be held in escrow then loaned to Greystone Hotel Miami for the purposes of

   developing the Greystone Properties.

          288.    Defendants, Vosotas Entities knew or should have known that Plaintiffs'

   investment funds were never placed in escrow, never loaned to Greystone Hotel Miami, and

   never used to develop the Greystone Properties.

          289.    Defendants, Vosotas Entities knew, or should have known, that Walsh had

   misappropriated and converted Plaintiffs’ property.

          290.    Defendants, Vosotas Entities agreed to develop the Greystone Project and EB-5

   partnership with Walsh. Defendants, Vosotas Entities were the legally authorized recipients of

   Plaintiffs’ investment to develop the Greystone Properties. As such, the Vosotas Entities had

   specific knowledge the investment was never received and none of Plaintiffs’ funds were used to

   develop the property. Defendants, Vosotas Entities knew, or should have known, Plaintiffs’

   property had been misappropriated and converted by Walsh.

          291.    Defendants, Vosotas Entities provided substantial assistance to advance the

   commission of the conversion.

          292.    Defendants, Vosotas Entities produced a website that made multiple

   misrepresentations to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return

   on investment, (2) a 99% success rate for visa applications, and (3) the existence of a legitimate

   escrow account.

          293.    Defendants, Vosotas Entities provided Defendants, Walsh, the Walsh Entities, and

   co-conspirators fraudulent business plans, mortgages, and loan agreements that made multiple

   misrepresentations including (1) the ownership of the Greystone Properties, (2) the existence of a


                                          Page 72 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 73 of 124



   security on Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the

   project managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank

   and third-party investment in the project.

           294.    Defendants, Vosotas Entities, knowingly aided and abetted the conversion of

   Plaintiffs’ EB-5 investment. Defendants, Vosotas Entities substantially assisted or enabled the

   conversion of Plaintiffs’ EB-5 investment monies.

           295.    Plaintiffs were severely damaged by the actions of the Vosotas Entities.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,

   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,

   GREYSTONE HOSPITALITY,               LLC, GREYSTONE HOLDCO,                   LLC, GREYSTONE

   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                   GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC for damages, attorneys’

   fees, litigation costs, and for any such other and further relief as this Court deems just and proper.

                                COUNT 8 - Aiding and Abetting Conversion
                                          (Defendant, Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           296.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.



                                          Page 73 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 74 of 124



   Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW Consultancy

   misappropriated and converted Plaintiffs’ property.

          297.    Defendant, Ramirez had speciﬁc knowledge that Plaintiffs’ property was

   Converted.

          298.       Defendant, Ramirez knew that Defendant, Walsh created the Fake Escrow

   Account to avoid the standard banking policies and procedures associated with legitimate escrow

   accounts. Defendant, Ramirez knew, or should have known, Defendant, Walsh sought to avoid

   standard escrow requirements to assist in the conversion of Plaintiffs’ funds.

          299.    Defendant, Ramirez, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

   and the intended use of the account they wished to open at PNC, combined with PNC’s

   knowledge of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs

   had been fraudulently induced into investing in the Project.

          300.    Defendant, Ramirez, as a Vice President of PNC and as a result of receiving

   multiple wires transfers referencing an “Escrow Account” had specific knowledge or should have

   known that Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds

   in an escrow account.

          301.    Defendant, Ramirez, as a Vice President of PNC and as a result of witnessing

   Walsh immediately transfer funds from the “Escrow Account” to Defendant, Walsh’s second

   holding account at PNC, had specific knowledge or should have known that Plaintiffs’ funds had

   been converted.

          302.    Defendant, Ramirez provided substantial assistance to advance the commission of

   the conversion.


                                         Page 74 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 75 of 124



           303.    Defendant, Ramirez assisted Defendant, Walsh in creating the Fake Escrow

   Account.

           304.    Defendant, Ramirez offered, created and implemented the Fake Escrow Account,

   he knew that the Defendants, Walsh, the Walsh Entities, and co-conspirators were holding

   Plaintiffs EB-5 investment funds in a checking account fraudulently represented as an escrow

   account. Ramirez also knew Plaintiffs had made substantial transferred to a named “Escrow

   Account” which was in fact a business checking account and those funds were immediately

   transferred to Defendant, Walsh’s holding account with PNC bank, without a requirement to

   follow any terms of a PNC escrow agreement. Under these particular circumstances, Defendant,

   Ramirez and PNC’s failure to warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and

   co-conspirators’ conversions is providing substantial assistance.

           305.      Defendant, Ramirez therefore knowingly aided and abetted in the conversion of

   Plaintiffs’ funds. Ramirez substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies from the Fake Escrow Account.

           306.    Plaintiffs were severely damaged by the actions of Defendant, Ramirez.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, RUBEN RAMIERZ, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 9 - Aiding and Abetting Conversion
                                           (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

                                          Page 75 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 76 of 124



          307.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, USREDA Holdings and JJW Consultancy

   misappropriated and converted Plaintiffs’ property.

          308.    Defendant, PNC had speciﬁc knowledge that Plaintiffs’ property was converted.

          309.    Defendant, PNC knew Walsh created the Fake Escrow Account to avoid the

   standard banking policies and procedures associated with legitimate escrow accounts. Defendant,

   PNC knew, or should have known, Defendant, Walsh sought to avoid standard escrow

   requirements to assist in the conversion of Plaintiffs’ funds.

          310.    Defendant, PNC, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

   and the intended use of the account they wished to open at PNC, combined with PNC’s

   knowledge of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs

   had been fraudulently induced into investing in the Project.

          311.    Defendant, PNC, as a result of receiving multiple wires transfers referencing an

   “Escrow Account,” had specific knowledge or should have known that Plaintiffs’ had been

   defrauded and wrongfully believed they were placing their funds in an escrow account.

          312.    Defendant, PNC, as a result of witnessing Defendant, Walsh immediately transfer

   funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

   knowledge or should have known that Plaintiffs’ funds had been converted.

          313.    Defendant, PNC provided substantial assistance to advance the commission of the

   conversion.

          314.    Defendant, PNC assisted Defendant, Walsh in creating the Fake Escrow Account.


                                          Page 76 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 77 of 124



           315.    Defendant, PNC offered, created and implemented the fake escrow account, they

   knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs

   EB-5 investment funds in a checking account fraudulently represented as an escrow account.

   PNC also knew Plaintiffs had made substantial transferred to a named “Escrow Account” which

   was in fact a business checking account and those funds were immediately transferred to Walsh’s

   holding account with PNC bank, without a requirement to follow any terms of a PNC escrow

   agreement. Under these particular circumstances, Defendants, Ramirez and PNC’s failure to

   warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and co-conspirators’ conversions is

   providing substantial assistance.

           316.     Defendant, PNC therefore knowingly aided and abetted in the conversion of

   Plaintiffs’ funds. PNC substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies from the Fake Escrow Account.

           317.    Plaintiffs were severely damaged by the actions of Defendant, PNC.

       WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

   JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, PNC BANK, N.A., for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                  COUNT 10 - Fraud in the Inducement
                                         (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.




                                          Page 77 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 78 of 124



          318.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, DefendantWalsh induced Plaintiffs to enter into agreements and transfer

   funds based on the following false statements:

              a. the use of investor funds;
              b. the use of an escrow account to hold investor funds prior to disbursement to
                   Greystone Project;
              c.   the existence of conditions precedent to the advancement of loan disbursements
                   to Greystone Project;
              d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
              e. Defendants’ backgrounds;
              f. the preparation and periodic disclosure to investors of financial reports;
              g. Greystone Project’s repayment of the loan; and
              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel
              i. The underlining Greystone Properties prior to the commencement of the EB-5
                   Greystone Partnership offering.
              j. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          319.     Defendant, Walsh after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer

   funds into the fake PNC escrow account.

          320.     Knowing that his statements were false, Defendant Walsh intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          321.     Plaintiffs justifiably relied on Defendant Walsh’s representations and transferred

   all required payments.




                                           Page 78 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 79 of 124



           322.     Defendant, Walsh however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

           323.     In justifiable reliance on Defendant Walsh’s representations, Plaintiffs have

   suffered damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                   COUNT 11 - Fraud in the Inducement
                                        (Defendant, J. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           324.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, Defendant J. Vosotas induced Plaintiffs to enter into agreements and

   transfer funds based on the following false statements:

               a. the use of investor funds;
               b. the use of an escrow account to hold investor funds prior to disbursement to
                    Greystone Project;
               c.   the existence of conditions precedent to the advancement of loan disbursements
                    to Greystone Project;
               d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
               e. Defendants’ backgrounds;
               f. the preparation and periodic disclosure to investors of financial reports;
               g. Greystone Project’s repayment of the loan; and

                                            Page 79 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 80 of 124



              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel
              i. The underlining Greystone Properties prior to the commencement of the EB-5
                   Greystone Partnership offering.
              j. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          325.     Defendant, J. Vosotas after falsely leading Plaintiffs to believe that their

   investments would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to

   transfer funds into the fake PNC escrow account.

          326.     Knowing that his statements were false, Defendant J. Vosotas intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          327.     Plaintiffs justifiably relied on Defendant, J. Vosotas’ representations and

   transferred all required payments.

          328.     Defendant, J. Vosotas however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

          329.     In justifiable reliance on Defendant J. Vosotas’ representations, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JAMES VOSOTAS for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.




                                          Page 80 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 81 of 124



                                  COUNT 12 - Fraud in the Inducement
                                       (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           330.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, Defendant D. Vosotas induced Plaintiffs to enter into agreements and

   transfer funds based on the following false statements:

               a. the use of investor funds;
               b. the use of an escrow account to hold investor funds prior to disbursement to
                    Greystone Project;
               c.   the existence of conditions precedent to the advancement of loan disbursements
                    to Greystone Project;
               d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
               e. Defendants’ backgrounds;
               f. the preparation and periodic disclosure to investors of financial reports;
               g. Greystone Project’s repayment of the loan; and
               h.   Greystone Project’s purported ownership of and investment in the Greystone
                    Hotel
               i. The underlining Greystone Properties prior to the commencement of the EB-5
                    Greystone Partnership offering.
               j. The existence of a mortgage, or other security, the investors held through the
                    Greystone Partnership against the Greystone Properties to secure their loan and
                    investment.
           331.     Defendant, D. Vosotas after falsely leading Plaintiffs to believe that their

   investments would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to

   transfer funds into the fake PNC escrow account.

           332.     Knowing that his statements were false, Defendant D. Vosotas intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

                                            Page 81 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 82 of 124



           333.     Plaintiffs justifiably relied on Defendant D. Vosotas’ representations and

   transferred all required payments.

           334.     Defendant, D. Vosotas however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

           335.     In justifiable reliance on Defendant D. Vosotas’ representations, Plaintiffs have

   suffered damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, DANIEL VOSOTAS, for damages, litigation costs, and for any such other and

   further relief as this Court deems just and proper.

                                   COUNT 13 - Fraud in the Inducement
                                          (Defendant, Muhl)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           336.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, Defendant Muhl induced Plaintiffs to enter into agreements and transfer

   funds based on the following false statements:

               a. the use of investor funds;
               b. the use of an escrow account to hold investor funds prior to disbursement to
                    Greystone Project;
               c.   the existence of conditions precedent to the advancement of loan disbursements
                    to Greystone Project;
               d. the guaranteed return of investors' funds if their I-526 Petitions were denied;


                                            Page 82 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 83 of 124



              e. Defendants’ backgrounds;
              f. the preparation and periodic disclosure to investors of financial reports;
              g. Greystone Project’s repayment of the loan; and
              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel
              i. The underlining Greystone Properties prior to the commencement of the EB-5
                   Greystone Partnership offering.
              j. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          337.     Defendant, Muhl after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer

   funds into the fake PNC escrow account.

          338.     Knowing that his statements were false, Defendant Muhl intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          339.     Plaintiffs justifiably relied on Defendant Muhl’s representations and transferred

   all required payments.

          340.     Defendant Muhl however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

          341.     In justifiable reliance on Defendant Muhl’s representations, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, BRANDEN MUHL, for damages, litigation costs, and for any such other and further

                                         Page 83 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 84 of 124



   relief as this Court deems just and proper.

                                  COUNT 14 - Fraud in the Inducement
                                     (Defendants, Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           342.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, the Vosotas Entities induced Plaintiffs to enter into agreements and

   transfer funds based on the following false statements:

               a. the use of investor funds;
               b. the use of an escrow account to hold investor funds prior to disbursement to
                    Greystone Project;
               c.   the existence of conditions precedent to the advancement of loan disbursements
                    to Greystone Project;
               d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
               e. Defendants’ backgrounds;
               f. the preparation and periodic disclosure to investors of financial reports;
               g. Greystone Project’s repayment of the loan; and
               h.   Greystone Project’s purported ownership of and investment in the Greystone
                    Hotel
               i. The underlining Greystone Properties prior to the commencement of the EB-5
                    Greystone Partnership offering.
               j. The existence of a mortgage, or other security, the investors held through the
                    Greystone Partnership against the Greystone Properties to secure their loan and
                    investment.
           343.     The Vosotas Entities, after falsely leading Plaintiffs to believe that their

   investments would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to

   transfer funds into the fake PNC escrow account.



                                            Page 84 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 85 of 124



           344.    Knowing that his statements were false, the Vosotas Entities intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

           345.    Plaintiffs justifiably relied on the Vosotas Entities’ representations and transferred

   all required payments.

           346.    The Vosotas Entities however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendants return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

           347.    In justifiable reliance on the Vosotas Entities’ representations, Plaintiffs have

   suffered damages.

   WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

   JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,

   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,

   GREYSTONE HOSPITALITY,                LLC,    GREYSTONE HOLDCO,                LLC,     GREYSTONE

   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                     GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC, for damages, litigation

   costs, and for any such other and further relief as this Court deems just and proper.

                                  COUNT 15 - Fraud in the Inducement
                                     (Defendants, Walsh Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.



                                           Page 85 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 86 of 124



          348.     Using false statements that Plaintiffs’ funds would be solely for the investment

   into the EB-5 Project, the Walsh Entities induced Plaintiffs to enter into agreements and transfer

   funds based on the following false statements:

              a. the use of investor funds;
              b. the use of an escrow account to hold investor funds prior to disbursement to
                   Greystone Project;
              c.   the existence of conditions precedent to the advancement of loan disbursements
                   to Greystone Project;
              d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
              e. Defendants’ backgrounds;
              f. the preparation and periodic disclosure to investors of financial reports;
              g. Greystone Project’s repayment of the loan; and
              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel
              i. The underlining Greystone Properties prior to the commencement of the EB-5
                   Greystone Partnership offering.
              j. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          349.     The Walsh Entities after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer

   funds into the fake PNC escrow account.

          350.     Knowing that his statements were false, the Walsh Entities intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          351.     Plaintiffs justifiably relied on the Walsh Entities’ representations and transferred

   all required payments.




                                           Page 86 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 87 of 124



           352.    The Walsh Entities however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendants return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

           353.    In justifiable reliance on the Walsh Entities’ representations, Plaintiffs have

   suffered damages.

   WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

   JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, SOUTH ATLANTIC REGIONAL CENTER, LLC, WWB TRUST, LLC, USREDA,

   LLC, USREDA HOLDINGS, LLC, JJW CONSULTANCY, LTD., for damages, litigation costs,

   and for any such other and further relief as this Court deems just and proper.

                        COUNT 16 - Aiding and Abetting Fraud in the Inducement
                                      (Defendant, Ruben Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           354.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the

   Vosotas Entities, Muhl, and Muhl Entities and their agents knew that their representations were

   false and intended the Plaintiffs to rely upon the representations and induced by them to invest

   their money into Greystone EB-5 Partnership.

           355.    Defendant, Ramirez had speciﬁc knowledge that Plaintiffs’ had been defrauded.

           356.     Defendant, Ramirez knew Defendant, Walsh created the Fake Escrow Account to

   avoid the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, Ramirez knew, or should have known, Defendant, Walsh sought to avoid standard



                                          Page 87 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 88 of 124



   escrow requirements to assist in the defrauding Plaintiffs’ into believing they were placing their

   funds into a legitimate escrow account.

          357.    Ramirez, as a result of all the information that was provided by Walsh and the

   Walsh Entities, via Reitz, regarding both the SunTrust escrow account and the intended use of

   the account they wished to open at PNC, combined with PNC’s knowledge of the EB-5 program,

   had speciﬁc knowledge or should have known that Plaintiffs had been fraudulently induced into

   investing in the Project.

          358.    Ramirez, as a Vice President of PNC and as a result of receiving multiple wires

   transfers referencing an “Escrow Account” had specific knowledge or should have known that

   Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds in an

   escrow account.

          359.    Ramirez, as a Vice President of PNC and as a result of witnessing Walsh

   immediately transfer funds from the “Escrow Account” to Walsh’s second holding account at

   PNC, had specific knowledge or should have known that Plaintiffs’ had been defrauded.

          360.    Ramirez provided substantial assistance to advance the fraudulent inducement.

          361.    Ramirez assisted Walsh in creating the Fake Escrow Account.

          362.    Ramirez offered, created and implemented the fake escrow account, he knew that

   the Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs EB-5 investment funds

   in a checking account fraudulently represented as an escrow account. Ramirez also knew

   Plaintiffs had made substantial transferred to a named “Escrow Account” which was in fact a

   business checking account and those funds were immediately transferred to Walsh’s holding

   account with PNC bank, without a requirement to follow any terms of a PNC escrow agreement.




                                         Page 88 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 89 of 124



   Under these particular circumstances, Ramirez and PNC’s failure to warn Plaintiffs or stop the

   Walsh, the Walsh Entities, and co-conspirators’ fraud is providing substantial assistance.

           363.    Ramirez therefore knowingly aided and abetted in the inducement. Ramirez

   substantially assisted or enabled the inducement of fraud by convincing Plaintiffs’ their EB-5

   investment had been placed in a legitimate escrow account.

           364.    Plaintiffs were severely damaged by the actions of Ramirez.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, RUBEN RAMIREZ for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                        COUNT 17 - Aiding and Abetting Fraud in the Inducement
                                          (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           365.    Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, Vosotas Entities,

   Muhl, and Muhl Entities and their agents knew that their representations were false and intended

   the Plaintiffs to rely upon the representations and be induced by them to invest their money into

   Greystone EB-5 Partnership.

           366.    Defendant, PNC had speciﬁc knowledge that Plaintiffs’ had been defrauded.

           367.    Defendant, PNC knew Defendant, Walsh created the Fake Escrow Account to

   avoid the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, PNC knew, or should have known, Defendant, Walsh sought to avoid standard



                                          Page 89 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 90 of 124



   escrow requirements to assist in the conversion of Plaintiffs’ funds in the defrauding Plaintiffs’

   into believing they were placing their funds into a legitimate escrow account.

          368.    Defendant, PNC, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, Via Reitz, regarding both the SunTrust escrow

   account and the intended use of the account they wished to open at PNC, combined with PNC’s

   knowledge of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs

   had been fraudulently induced into investing in the Project.

          369.    As a result of receiving multiple wires transfers referencing an “Escrow Account”,

   Defendant, PNC had specific knowledge or should have known that Plaintiffs’ had been

   defrauded and wrongfully believed they were placing their funds in an escrow account.

          370.    Defendant, PNC as a result of witnessing Defendant Walsh immediately transfer

   funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

   knowledge or should have known that Plaintiffs’ had been defrauded.

          371.    Defendant, PNC provided substantial assistance to advance the fraudulent

   inducement.

          372.    Defendant, PNC assisted Defendant Walsh in creating the Fake Escrow Account.

          373.    Defendant, PNC offered, created and implemented the fake escrow account, it

   knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs

   EB-5 investment funds in a checking account fraudulently represented as an escrow account.

   Defendant, PNC also knew Plaintiffs had made substantial transferred to a named “Escrow

   Account” which was in fact a business checking account and those funds were immediately

   transferred to Defendants, Walsh’s holding account with PNC bank, without a requirement to

   follow any terms of a PNC escrow agreement. Under these particular circumstances, Defendants,


                                         Page 90 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 91 of 124



   PNC and Ramirez’s failure to warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and

   co-conspirators’ fraud is providing substantial assistance.

           374.     Defendant, PNC therefore knowingly aided and abetted in the inducement.

   Defendant, PNC substantially assisted or enabled the inducement of fraud by convincing

   Plaintiffs’ their EB-5 investment had been placed in a legitimate escrow account.

           375.    Plaintiffs were severely damaged by the actions of PNC.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, PNC BANK, N.A., for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                                 COUNT 18 - Breach of Fiduciary Duty
                                    (Defendants, Walsh and SARC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           376.    Defendants, Walsh and SARC owed Plaintiffs a fiduciary duty and other implied

   duties arising from their service as general partners or persons purporting to act as general

   partners Defendant, Greystone EB-5 Partnership, including the duties of loyalty and care.

           377.    Moreover, Plaintiffs reposed their trust and confidence in Defendants, Walsh and

   SARC which they accepted. Plaintiffs were dependent on Defendants, United EB5, SARC,

   Walsh, and J. Vosotas and their purported expertise in the United States EB-5 visa program, and

   Defendants knowingly undertook and accepted the duty to advise, counsel, and protect Plaintiffs.




                                          Page 91 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 92 of 124



             378.   Defendants, Walsh and SARC’s duty of loyalty included the duty to account and

   hold as trustee any property derived by the general partner in the conduct of the limited

   partnership’s activities.

             379.   Defendants, Walsh and SARC had a duty to refrain from engaging in grossly

   negligent or reckless conduct, intentional misconduct, or a knowing violation of law.

             380.   Defendants, Walsh and SARC’s duty of loyalty included the duty to follow

   material terms of the partnership agreement, which would have revealed Defendant’s fraud, such

   as providing annual financial statements.

             381.   Defendants, Walsh and SARC by stealing and/or allowing Plaintiffs’ funds to be

   stolen from the Escrow Account, in derogation of the written and oral representations that the

   funds would be held in escrow pending USCIS’ approval of Plaintiffs’ I-526 applications,

   breached their fiduciary duties to Plaintiffs.

             382.   Defendants, Walsh and SARC by concealing material facts about the Greystone

   project and breached their fiduciary duties to Plaintiffs.

             383.   Defendants, Walsh and SARC breach of their fiduciary duties have caused

   Plaintiffs substantial damage.

             WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, for

   damages, litigation costs, and for any such other and further relief as this Court deems just and

   proper.




                                           Page 92 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 93 of 124



                                  COUNT 19 - Breach of Fiduciary Duty
                                  (Defendants, J. Vosotas and United EB5)


           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           384.    Defendants, J. Vosotas and United EB5 owed Plaintiffs a fiduciary duty and other

   implied duties arising from their service as general partners or persons purporting to act as

   general partners of Defendant, Greystone EB-5 Partnership, including the duties of loyalty and

   care.

           385.    Moreover, Plaintiffs reposed their trust and confidence in Defendants, J. Vosotas

   and United EB5 which they accepted. Plaintiffs were dependent on Defendants, United EB5,

   SARC, Walsh, and J. Vosotas and their purported expertise in the United States EB-5 visa

   program, and Defendants knowingly undertook and accepted the duty to advise, counsel, and

   protect Plaintiffs.

           386.    Defendants, J. Vosotas and United EB5’s duty of loyalty included the duty to

   account and hold as trustee any property derived by the general partner in the conduct of the

   limited partnership’s activities.

           387.    Defendants, J. Vosotas and United EB5 had a duty to refrain from engaging in

   grossly negligent or reckless conduct, intentional misconduct, or a knowing violation of law.

           388.    Defendants, J. Vosotas and United EB5’s duty of loyalty included the duty to

   follow material terms of the partnership agreement, which would have revealed Defendant’s

   fraud, such as providing annual financial statements.

           389.    Defendants, J. Vosotas and United EB5 by stealing and/or allowing Plaintiffs’

   funds to be stolen from the Escrow Account, in derogation of the written and oral representations


                                           Page 93 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 94 of 124



   that the funds would be held in escrow pending USCIS’ approval of Plaintiffs’ I-526

   applications, breached their fiduciary duties to Plaintiffs.

           390.    Defendants, J. Vosotas and United EB5 by concealing material facts about the

   Greystone project, breached their fiduciary duties to Plaintiffs.

           391.    Defendants, J. Vosotas and United EB5 breach of their fiduciary duties have

   caused Plaintiffs substantial damage.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JAMES VOSOTAS and UNITED EB-5, LLC, for damages, litigation costs, and for

   any such other and further relief as this Court deems just and proper.

                       COUNT 20 - Aiding and Abetting Breach of Fiduciary Duty:
                                       (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           392.    Defendants, Walsh, SARC, J. Vosotas, and United EB5 breached a fiduciary duty

   owed to the Plaintiffs.

           393.    Defendant, D. Vosotas had speciﬁc knowledge of Defendants, Walsh, SARC, J.

   Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           394.     Defendant, D. Vosotas had specific knowledge of the fiduciary duties

   Defendants, United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of

   Defendant, Greystone EB-5 Partnership.




                                           Page 94 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 95 of 124



          395.    Defendant, D. Vosotas knew should have known Plaintiffs’ funds were supposed

   to be held in escrow then loaned to Defendant, Greystone Hotel Miami for the purposes of

   developing the Greystone Properties.

          396.    Defendant, D. Vosotas knew or should have known that Plaintiffs' investment

   funds were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to

   develop the Greystone Properties.

          397.    Defendant, D. Vosotas knew, or should have known, that Defendants, SARC, J.

   Vosotas, and United EB5 misappropriated Plaintiffs’ investment was a violation of their

   Fiduciary Duty to Plaintiffs.

          398.    Defendant, D. Vosotas through his role as manager of the Vosotas Entities (Trans

   Inn Associates, VOS Holdings, and VOS CRE I) had specific knowledge that Plaintiffs’

   investment had been misappropriated and Fiduciary Duties violated.

          399.    Defendant, D, Vosotas as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and Fiduciary Duties violated.

          400.    Defendant, D. Vosotas provided substantial assistance to advance the commission

   of the Breach of Fiduciary Duty.

          401.    Defendant, D. Vosotas, or his authorized agents, met with Plaintiffs to discuss

   their potential investment in the Greystone Project. Representations made by D. Vostoas and/or

   his agents gave credibility to Walsh and the Greystone Project.

          402.    Defendant, D. Vosotas produced a website that made multiple misrepresentations

   to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2)

   a 99% success rate for visa applications, and (3) the existence of a legitimate escrow account.


                                          Page 95 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 96 of 124



           403.    Defendant, D. Vosotas, provided Defendants, Walsh, the Walsh Entities, and co-

   conspirators fraudulent business plans, mortgages, and loan agreements that made multiple

   misrepresentations including (1) the ownership of the Greystone Properties, (2) the existence of a

   security on Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the

   project managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank

   and third-party investment in the project.

           404.      Defendant, D. Vosotas partnered with Defendant, Walsh and represented himself

   as a project manager in the Greystone Project’s advertisements and the Offering Materials.

   Defendant, D. Vosotas’s reputation, as a purported experienced developer and manager of hotels

   in the Miami Florida market was essential in giving Walsh credibility in the EB-5 offering.

           405.    Defendant, D. Vosotas, knowingly aided and Defendants, Walsh, SARC, J.

   Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, D. Vosotas

   substantially assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach

   of Fiduciary Duty to Plaintiffs.

           406.    Plaintiffs were severely damaged by the actions of Defendant, D. Vosotas.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, DANIEL VOSOTAS, for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                        COUNT 21 - Aiding and Abetting Breach of Fiduciary Duty
                                   (Defendants, the Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

                                          Page 96 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 97 of 124



           407.   Defendants, Walsh, SARC, J. Vosotas, and United EB5 breached a fiduciary duty

   owed to the Plaintiffs.

           408.   Vosotas Entities Greystone Hotel Miami, United EB5, Santa Barbara 230,

   Greystone Terra Firma, VOS Holdings I, Vos CRE I, Greystone Hospitality, Greystone Holdco,

   Greystone Managing Member, Greystone Master Tenant, Greystone Tenant, Greystone Option

   Holder, Trans Inns Associates, VOS Hospitality, and Greystone Managing Member) had Speciﬁc

   Knowledge of Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to

   Plaintiffs.

           409.    Vosotas Entities had specific knowledge of the fiduciary duties Defendants,

   United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Greystone

   EB5 Partnership.

           410.   Vosotas Entities knew should have known Plaintiffs’ funds were supposed to be

   held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

           411.   Vosotas Entities knew or should have known that Plaintiffs' investment funds

   were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop

   the Greystone Properties.

           412.   Vosotas Entities knew, or should have known, that Walsh, SARC, J. Vosotas, and

   United EB5 misappropriated Plaintiffs’ investment was a violation of their Fiduciary Duty to

   Plaintiffs.

           413.   Vosotas Entities agreed to develop the Greystone Project and EB-5 partnership

   with Walsh. Vosotas Entities were the legally authorized recipients of Plaintiffs’ investment to




                                        Page 97 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 98 of 124



   develop the Greystone Properties. As such, the Vosotas Entities had specific knowledge the

   investment was never received and none of Plaintiffs’ funds were used to develop the property.

          414.    Vosotas Entities provided substantial assistance to advance the commission of the

   Breach of Fiduciary Duty.

          415.    Vosotas Entities produced a website that made multiple misrepresentations to

   induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          416.     Vosotas Entities, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project

   managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank and

   third-party investment in the project.

          417.    Vosotas Entities, knowingly aided and Walsh, SARC, J. Vosotas, and United

   EB5’s breach of Fiduciary Duty to Plaintiffs. The Vosotas Entities substantially assisted or

   enabled Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          418.    Plaintiffs were severely damaged by the actions of the Vosotas Entities.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,

   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,

   GREYSTONE HOSPITALITY,               LLC,     GREYSTONE HOLDCO,            LLC,    GREYSTONE


                                            Page 98 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 99 of 124



   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                     GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC, for damages, litigation

   costs, and for any such other and further relief as this Court deems just and proper.

                        COUNT 22 - Aiding and Abetting Breach of Fiduciary Duty
                                     (Defendants, Ruben Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           419.      Defendants, Walsh, SARC, J. Vosotas, and United EB5’s owed a fiduciary duty to

   the Plaintiffs.

           420.      Defendant, Ramirez had speciﬁc knowledge of Walsh, SARC, J. Vosotas, and

   United EB5’s breach of Fiduciary Duty to Plaintiffs.

           421.      Defendant, Ramirez had specific knowledge of the fiduciary duties Defendants,

   United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Defendant,

   Greystone EB-5 Partnership.

           422.      Defendant, Ramirez knew Defendant, Walsh created the Fake Escrow Account to

   avoid “obstacles and red tape” associated with legitimate escrow accounts. Defendant, Ramirez

   knew, or should have known, Defendant, Walsh wished to avoid standard escrow requirements to

   assist in the defrauding Plaintiffs’ into believing they were placing their funds into a legitimate

   escrow account.

           423.      Defendant, Ramirez, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

   and the intended use of the account they wished to open at PNC, combined with PNC’s



                                          Page 99 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 100 of 124



   knowledge of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs

   had been fraudulently induced into investing in the Greystone Project.

          424.   Defendant, Ramirez, as a Vice President of PNC and as a result of receiving

   multiple wires transfers referencing an “Escrow Account” had specific knowledge or should have

   known that Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds

   in an escrow account.

          425.   Defendant, Ramirez, as a Vice President of PNC and as a result of witnessing

   Defendant, Walsh immediately transfer funds from the “Escrow Account” to Walsh’s second

   holding account at PNC, had specific knowledge or should have known that Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          426.   Defendant, Ramirez provided substantial assistance to advance Defencants,

   Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          427.   Defendant, Ramirez assisted Defendant, Walsh in creating the Fake Escrow

   Account.

          428.   Defendant, Ramirez offered, created and implemented the fake escrow account.

   He knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs

   EB-5 investment funds in a checking account fraudulently represented as an escrow account.

   Ramirez also knew Plaintiffs had made substantial transferred to a named “Escrow Account”

   which was in fact a business checking account and those funds were immediately transferred to

   Walsh’s holding account with PNC bank, without a requirement to follow any terms of a PNC

   escrow agreement. Under these particular circumstances, Defendants, Ramirez and PNC’s failure

   to warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and co-conspirators’ fraud is




                                        Page 100 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 101 of 124



   providing substantial assistance to Walsh, SARC, J. Vosotas, and United EB5’s breach of

   Fiduciary Duty to Plaintiffs.

           429.     Defendant, Ramirez therefore knowingly aided and abetted Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, Ramirez

   substantially assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach

   of Fiduciary Duty to Plaintiffs by convincing Plaintiffs’ their EB-5 investment had been placed in

   a legitimate escrow account.

           430.    Plaintiffs were severely damaged by the actions of Defendant, Ramirez.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, RUBEN RAMIREZ, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                        COUNT 23 - Aiding and Abetting Breach of Fiduciary Duty
                                           (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           431.    Defendants, Walsh, SARC, J. Vosotas, and United EB5 owed a breach of

   Fiduciary Duty to the Plaintiffs.

           432.    Defendant, PNC had speciﬁc knowledge of Defendants, Walsh, SARC, J. Vosotas,

   and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           433.    Defendant, PNC had specific knowledge of the fiduciary duties Defendants,

   United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Defendant,

   Greystone EB-5 Partnership.

                                         Page 101 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 102 of 124



          434.    Defendant, PNC knew Defendant, Walsh created the Fake Escrow Account to

   avoid the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, PNC knew, or should have known, Defendant, Walsh sought to avoid standard

   escrow requirements to assist in the defrauding Plaintiffs’ into believing they were placing their

   funds into a legitimate escrow account.

          435.    Defendant, PNC, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

   and the intended use of the account they wished to open at PNC, combined with PNC’s

   knowledge of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs

   had been fraudulently induced into investing in the Greystone Project.

          436.    Defendant, PNC as a result of receiving multiple wires transfers referencing an

   “Escrow Account” had specific knowledge or should have known that Plaintiffs’ had been

   defrauded and wrongfully believed they were placing their funds in an escrow account.

          437.    Defendant, PNC as a result of witnessing Defendant, Walsh immediately transfer

   funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

   knowledge or should have known that Defendants, Walsh, SARC, J. Vosotas, and United EB5’s

   breached their Fiduciary Duties to Plaintiffs.

          438.    Defendant, PNC provided substantial assistance to advance Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          439.    Defendant, PNC assisted Defendant, Walsh in creating the Fake Escrow Account.

          440.    Defendant, PNC offered, created and implemented the fake escrow account.

   Defendant, PNC knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were

   holding Plaintiffs EB-5 investment funds in a checking account fraudulently represented as an


                                         Page 102 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 103 of 124



   escrow account. Defendant, PNC also knew Plaintiffs had made substantial transferred to a

   named “Escrow Account” which was in fact a business checking account and those funds were

   immediately transferred to Defendant, Walsh’s holding account with PNC bank, without a

   requirement to follow any terms of a PNC escrow agreement. Under these particular

   circumstances, Defendants, Ramirez and PNC’s failure to warn Plaintiffs or stop Defendants,

   Walsh, the Walsh Entities, and co-conspirators’ fraud is providing substantial assistance to

   Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           441.    Defendant, PNC therefore knowingly aided and abetted Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, PNC

   substantially assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach

   of Fiduciary Duty to Plaintiffs by convincing Plaintiffs’ their EB-5 investment had been placed in

   a legitimate escrow account.

           442.    Plaintiffs were severely damaged by the actions of Defendant, PNC.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, PNC BANK, N.A., for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                            COUNT 24 - Fraud
                                            (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           443.    In a calculated scheme to defraud, Defendant Walsh made false statements to the

   Plaintiffs to induce them into investing into an EB-5 program.

                                         Page 103 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 104 of 124



          444.     Knowing that his statements were false, Defendant Walsh intended for the

   representations to induce Plaintiffs to rely on them, so that Plaintiffs would invest into the

   Greystone EB-5 Partnership and Defendant, Walsh would obtain such investments.

          445.     Defendant, Walsh produced, signed, and distributed to Plaintiffs’ immigration

   attorney, to be filed with USCIS, loan agreements, contracts, construction agreements, and

   ownership charts falsely stating:

              a.   the use of investor funds;
              b.   the use of an escrow account to hold investor funds prior to disbursement to
                   Greystone Project;
              c.   the existence of conditions precedent to the advancement of loan disbursements
                   to Greystone Project;
              d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
              e. Defendants’ backgrounds;
              f. the preparation and periodic disclosure to investors of financial reports;
              g. Greystone Project’s repayment of the loan; and
              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel and underlining Greystone Properties prior to the commencement of the
                   EB-5 Greystone Partnership offering.
              i. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          446.     Defendant, Walsh knew the representation and materials provided were false and

   intended that Plaintiffs and USCIS rely on them and to prevent USCIS or Plaintiffs from

   discovering and taking action to disrupt the criminal scheme.

          447.     Plaintiffs justifiably relied on these material representations and invested funds in

   the Greystone EB-5 project.

          448.     Defendant, Walsh did not perform and misappropriated the Plaintiffs’ investments.

                                           Page 104 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 105 of 124



           449.     In justifiable reliance on Defendant, Walsh’s representations, Plaintiffs suffered

   damages.

        WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                              COUNT 25 - Fraud
                                             (Defendant, J. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           450.     In a calculated scheme to defraud, Defendant, J. Vosotas made false statements to

   the Plaintiffs to induce them into investing into an EB-5 program.

           451.     Knowing that his statements were false, Defendant, J. Vosotas intended for the

   representations to induce Plaintiffs to rely on them, so that Plaintiffs would invest into the

   Greystone EB-4 Partnership and Defendant, J. Vosotas would obtain such investments.

           452.     Defendant, J. Vosotas produced, signed, and distributed to Plaintiffs’ immigration

   attorney, to be filed with USCIS, loan agreements, contracts, construction agreements, and

   ownership charts falsely stating:

               a.   the use of investor funds;
               b.   the use of an escrow account to hold investor funds prior to disbursement to
                    Greystone Project;
               c.   the existence of conditions precedent to the advancement of loan disbursements
                    to Greystone Project;
               d. the guaranteed return of investors' funds if their I-526 Petitions were denied;


                                            Page 105 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 106 of 124



              e. Defendants’ backgrounds;
              f. the preparation and periodic disclosure to investors of financial reports;
              g. Greystone Project’s repayment of the loan;
              h.   Greystone Project’s purported ownership of and investment in the Greystone
                   Hotel and underlining Greystone Properties prior to the commencement of the
                   EB-5 Greystone Partnership offering; and
              i. The existence of a mortgage, or other security, the investors held through the
                   Greystone Partnership against the Greystone Properties to secure their loan and
                   investment.
          453.     Defendant, J. Vosotas knew the representation and materials provided were false

   and intended that Plaintiffs and USCIS rely on them and to prevent USCIS or Plaintiffs from

   discovering and taking action to disrupt the criminal scheme.

          454.     Plaintiffs justifiably relied on these material representations and invested funds in

   the Greystone EB-5 project.

          455.     Defendant, J. Vosotas did not perform and misappropriated the Plaintiffs’

   investments.

          456.     In justifiable reliance on Defendant J. Vosotas’ representations, Plaintiffs suffered

   damages.

       WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JAMES VOSOTAS, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.




                                          Page 106 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 107 of 124



                                   COUNT 26 - Florida Civil RICO
                                        (All Defendants)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           457.    This is an action for civil racketeering relief under the Florida RICO (Racketeer

   Influenced and Corrupt Organization) Act, Florida Statutes §§ 895.01-895.05 against all

   Defendants.

           458.    Defendants acted as a RICO “enterprise” as defined in Florida Statute §

   895.02(5), to wit; a partnership operation designed to solicit foreign investors to invest in a

   USCIS approved EB-5 program in the United States, which was a union or association of

   persons and legal entities acting together, without disclosing their interrelatedness and joint

   profiteering scheme.

           459.    The above described RICO enterprise had an organizational structure, internal

   command and control structure and mechanism set out by continuing written and verbal

   agreements pertaining to the Greystone EB-5 Partnership, between Defendant, Walsh, Walsh Jr.,

   the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, the B Group and with the

   assistance of Defendants, Evans, Evans Carrol & Associates, Reitz, Ramirez and PNC, all of

   which purported to be a legitimate EB-5 program and was furthered, orchestrated, organized

   and/or directed, by Defendant, Walsh.

           460.    The above described RICO enterprise operated on a continuing nature and on a

   daily basis over a period of months from at least 2014 through 2019.

           461.    The above described RICO enterprise operated and existed by mutual agreements

   between the Defendants separate from, and not by virtue of, its pattern of racketeering activity.



                                         Page 107 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 108 of 124



          462.    Defendants, while associated with said enterprise, engaged in a “pattern of

   racketeering activity” as defined in Florida Statute § 895.02(7).

          463.    Defendants, while associated with the Greystone EB-5 Partnership, engaged in

   a “pattern of racketeering activity” as defined in Florida Statute § 895.02(7) involving a pattern

   of bad acts in violation of Chapter 817, relating to fraudulent practices, false pretenses, fraud

   generally, by compelling Plaintiffs’ investments into the Greystone EB-5 Partnership despite

   having intentionally and fraudulently failed to actually appropriate Plaintiffs’ investment funds

   into a legitimate EB-5 project, had similar intents, results, or methods of commission and were

   interrelated by distinguishing characteristics and not isolated incidents; and received, with

   criminal intent, proceeds derived from such racketeering activity.

          464.    In addition, Defendants, while associated with the Greystone EB-5 Partnership

   fraud enterprise, engaged in a “pattern of racketeering activity” as defined in Florida Statute §

   895.02(7) involving a pattern of bad acts in violation of Chapter 817, relating to fraudulent

   practices, false pretenses, fraud generally, by inducing foreign investors like the Plaintiffs to their

   participate in the fraudulent Greystone EB-5 Partnership and their interrelated or enterprise

   entities, while concealing and failing to disclose the common profit, scheme, and interrelatedness

   of Defendants, and, had similar intents, results, or methods of commission and were interrelated

   by distinguishing characteristics and not isolated incidents; and received, with criminal intent,

   proceeds derived from such racketeering activity.

          465.    Defendants, while associated with the Greystone EB-5 Partnership fraud

   enterprise, engaged in a “pattern of racketeering activity” as defined in Florida Statute §

   895.02(7) involving a pattern of fraud in violation of Chapter 817, relating to fraudulent

   practices, false pretenses, fraud generally that had similar intents, results, or methods of


                                          Page 108 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 109 of 124



   commission and were interrelated by distinguishing characteristics and were not isolated

   incidents as set out in the above factual allegations.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants for damages, attorneys’ fees, litigation costs, and for any such other and further relief

   as this Court deems just and proper.

                                   COUNT 27 - Constructive Fraud
                                    (Defendants, Walsh and SARC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           466.    A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

           467.    An unconscionable or improper advantage has been taken of Plaintiffs.

           468.    Defendants, Walsh and SARC, as General Partner, of the Greystone EB-5

   Partnership, had a fiduciary relationship with Plaintiffs.

           469.    As specifically described above, a fraudulent scheme was perpetrated upon

   Plaintiffs based upon knowingly false statements concerning material facts and concealment.

           470.    Plaintiffs relied upon the false statements knowingly made by Defendants Walsh

   and SARC concerning material facts and concealment, were induced to provide their

   investments, and have been damaged.

           471.    Defendants, Walsh and SARC’s fraudulent scheme perpetrated upon Plaintiffs

   was wrongful, and equitable interference is justified under these circumstances.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

                                          Page 109 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 110 of 124



   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, for

   damages, attorneys’ fees, litigation costs, and for any such other and further relief as this Court

   deems just and proper.

                                  COUNT 28 - Constructive Fraud
                                (Defendants, J. Vosotas and United EB5)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           472.    A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

           473.    An unconscionable or improper advantage has been taken of Plaintiffs.

           474.    Defendants, J. Vosotas and United EB-5, as General Partner, of the Greystone EB-

   5 Partnership, had a fiduciary relationship with Plaintiffs.

           475.    As specifically described above, a fraudulent scheme was perpetrated upon

   Plaintiffs based upon knowingly false statements concerning material facts and concealment.

           476.    Plaintiffs relied upon the false statements knowingly made by Defendants, J.

   Vosotas and United EB-5 concerning material facts and concealment, were induced to provide

   their investments, and have been damaged.

           477.    Defendants, J. Vosotas and United EB-5’S fraudulent scheme perpetrated upon

   Plaintiffs was wrongful, and equitable interference is justified under these circumstances.

   WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

   JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, JAMES VOSOTAS and UNITED EB-5, LLC, for damages, attorneys’ fees,

   litigation costs, and for any such other and further relief as this Court deems just and proper.

                                          Page 110 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 111 of 124



                         COUNT 29 - Civil Conspiracy against all Defendants
                                          (All Defendants)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           478.    Defendants are parties to a conspiracy.

           479.    There was an agreement between the Defendants to do an unlawful act or to do a

   lawful act by unlawful means, there were overt acts in furtherance of the conspiracy, and

   Plaintiffs were damaged as a result of acts done under the conspiracy.

           480.    As described above, the basis of the conspiracy is a fraud and theft of over four

   million dollars of Plaintiffs’ money, which are independent torts that give rise to causes of action

   if committed by one person.

           481.    Defendants entered into a conspiracy and acted in concert to market a fraudulent

   investment scheme to Plaintiffs, steal their money, and then distribute and dissipate the money

   among themselves.

           482.    Defendants acted with the full knowledge and awareness that the investment

   scheme was designed to fraudulently procure and steal Plaintiffs’ funds under the guise of an EB-

   5 visa investment opportunity.

           483.    Defendants acted contrary to law, acted according to a predetermined and

   commonly understood plan of action for the purpose of obtaining Plaintiffs’ funds, and took

   overt acts in furtherance of the conspiracy.

           484.    There was a meeting of minds between and among the Defendants to commit the

   unlawful acts alleged herein.

           485.    Plaintiffs have suffered damage as a result of the conspiracy.



                                          Page 111 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 112 of 124



           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants for damages, interest, attorneys’ fees, litigation costs, and for any such other and

   further relief as this Court deems just and proper.

                                       COUNT 30 - Dissolution
                                (Defendant, Greystone EB-5 Partnership)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           486.    Defendant, Greystone EB-5 Partnership is a Florida limited liability limited

   partnership and is governed by the Florida Revised Uniform Limited Partnership Act of 2005,

   which is contained in Florida Statutes Chapter 620.

           487.    Plaintiffs are limited partners in Greystone EB-5 Partnership.

           488.    Pursuant to Fla. Stat. §620.1802, on application by a partner, the circuit court may

   order the dissolution of a limited partnership if it is not reasonably practicable to carry on the

   activities of the limited partnership in conformity with the partnership agreement.

           489.    As described above, Defendant, Greystone EB-5 Partnership served as a vehicle

   for Defendants to defraud Plaintiffs and steal their funds.

           490.    The partnership required Defendants to loan the funds from Defendant, Greystone

   EB-5 Partnership to Defendant, Greystone Hotel Miami to develop the Greystone Hotel.

           491.    With all the funds now stolen from the Escrow Account, and the Greystone EB-5

   Partnership shown to be nothing more than an instrument of Defendants’ theft, the Greystone

   EB-5 Partnership has no reasonably practical means to carry on its operation.



                                          Page 112 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 113 of 124



           492.    Additionally, it is necessary to remove Defendants, SARC and United EB-5 as

   General Partners from continuing to manage the partnership and perpetuated the theft of

   Plaintiffs funds.

           493.    Defendants, SARC and United EB-5 should be removed from the wind up of

   Greystone Partnership the prosecution of legal claims on behalf of Greystone EB-5 Partnership.

           494.    New, independent decision makers and counsel that will actually pursue justice on

   behalf of the victims should be installed at Greystone EB-5 Partnership.

           495.    Accordingly, pursuant to Fla. Stat. §620.1803(4), on the basis of the good cause

   demonstrated herein, Plaintiffs ask the Court to order judicial supervision of the winding up of

   Greystone EB-5 Partnership, and the appointment of a person to wind up Greystone EB-5

   Partnership’s activities, including the prosecution of claims on behalf of Greystone EB-5

   Partnership.

           496.    Alternatively, dissolution and wind up of Greystone EB-5 Partnership is

   appropriate pursuant to the Greystone EB-5 Limited Partnership Agreement.

        WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, GREYSTONE EB-5, LLLP. Further, pursuant to Florida Statutes §§ 620.1802 and

   §620.1803, Plaintiffs seek the dissolution and wind up of Defendant, Greystone EB-5 LLLP,

   judicial supervision of the wind up, the appointment of a person to wind up Greystone

   Partnership’s activities, including the prosecution of claims on behalf of Defendant, Greystone

   EB-5, LLLP and for damages, attorneys’ fees, litigation costs, and for any such other and further

   relief as this Court deems just and proper.


                                         Page 113 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 114 of 124



                            COUNT 31 - Equitable Lien-1920 Collins Avenue

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           497.    Plaintiffs seek the imposition of a lien on the 1920 Collins Avenue parcel held by

   Defendant, Greystone Terra Firma, LLC.

           498.    As described above, Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and B Group are managers and members of Defendant, Greystone Terra Firma and used

   fraud, misrepresentation, and deception to secure Plaintiffs’ investments in Greystone EB-5

   Partnership Project.

           499.    A lien on the Greystone Properties in favor of Plaintiffs is appropriate to prevent

   unjust enrichment or other inequities.

           WHEREFORE, Plaintiffs request that the Court impose an equitable lien in favor of

   Plaintiffs on the 1920 Collins Avenue parcel held by Defendant, GREYSTONE TERRA FIRMA,

   LLC, and grant such other and further relief which is necessary and just under the circumstances.

                           COUNT 32 - Equitable Lien-230 Santa Barbara St.

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           500.    Plaintiffs seek the imposition of a lien on the Santa Barbara Apartments located at

   230 20th Street, Miami Beach, Florida, a parcel held by Defendant, Santa Barbara 230.

           501.    As described above, Defendant, J. Vosotas, as manager and member of Defendant,

   Santa Barbara 230 used fraud, misrepresentation, and deception to secure Plaintiffs’ investments

   in Greystone EB-5 Partnership project.




                                            Page 114 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 115 of 124



           502.    A lien on the Greystone Properties located at 230 20th Street, Miami Beach,

   Florida, in favor of Plaintiffs is appropriate to prevent unjust enrichment or other inequities.

           WHEREFORE, Plaintiffs request that the Court impose an equitable lien in favor of

   Plaintiffs on the 1920 Collins Avenue parcel held by Defendant, 230 SANTA BARBARA, LLC,

   and grant such other and further relief which is necessary and just under the circumstances.

           COUNT 33 – Violation of Florida Deceptive and Unfair Trade Practices Act,
                                Florida Statutes §501.201 et seq.
         (Defendants, Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           503.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) broadly

   prohibits all “[u]nfair methods of competition, unconscionable acts or practices, and unfair or

   deceptive acts or practices in the conduct of any trade of commerce.” § 501.204(1), Fla. Stat.

           504.    The Defendants engaged in trade and/or commerce within the meaning of

   FDUTPA.

           505.    Plaintiffs were consumers under FDUTPA.

           506.    In furtherance of a conspiracy to defraud and steal from Plaintiffs, Defendants,

   Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl, engaged in deceptive

   and unfair trade practices, as more fully explained above, including but not limited to:

               a. Causing Plaintiffs to wire money into a bank account in Florida, which then
                   allowed the money to be looted in Florida;

               b. Stealing and removing Plaintiffs’ funds from the Escrow Account in Florida;

               c. Engaging in a scheme whereby Plaintiffs’ funds were moved between multiple
                   bank accounts in Florida, using Florida business entities (e.g., Defendant,
                   Greystone EB-5 Partnership) or entities with their principal place of business in

                                          Page 115 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 116 of 124



                    Florida (e.g., Defendant, USREDA), in an effort to disguise the source of funds,
                    and then distributing those funds among the conspirators in Florida; and

               d.     Providing Plaintiffs’ funds to Defendant, SARC in Florida before Plaintiffs’ I-526
                    Petitions were approved by USCIS; Engaging in a systematic scheme, in Florida,
                    to loot Plaintiffs’ funds.

           507.     Defendants deceptive acts and unfair practices cause Plaintiffs to suffer damages.

           508.     Plaintiffs suffered actual economic damages as a direct result of the Defendants,

   Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl’s deceptive and unfair

   trade practices.

           509.     Plaintiffs’ damages include, but are not limited to, their solicited investments in

   the Greystone EB-5 Partnership Program.

           WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in favor of

   Plaintiffs and against the Defendants JOSEPH WALSH, SOUTH ATLANTIC REGIONAL

   CENTER, LLC,, JAMES VOSOTAS, DANIEL VOSOTAS, UNITED EB-5, LLC, USREDA,

   LLC, and BRANDEN MUHL, for damages, interest, costs, attorneys’ fees pursuant to Fla. Stat.

   Section § 501.2105, and such other relief that the Court deems just and proper.

                                    COUNT 34 – Equitable Accounting
                                  (Defendant, Greystone EB-5 Partnership)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           510.     Defendant, Greystone EB-5 Partnership shares a fiduciary relationship or entered

   into a complex transaction.

           511.     The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

   transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

   laundered through numerous entities, and ultimately used for personal, inappropriate purposes.
                                            Page 116 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 117 of 124



           512.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

   authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions

   involving these funds, are so involved and complicated that a remedy at law is insufficient to

   administer complete justice.

           513.    Plaintiffs are entitled to receive information regarding transactions involving any

   of the funds traceable to Plaintiffs.

           514.    Plaintiffs have requested information on the transfers of their funds, transactions

   involving their funds, and the present location of their funds, which has not been provided.

           515.    A remedy at law is inadequate.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, GREYSTONE EB-5, LLLP, and order Defendant to provide a full and complete

   accounting of their finances, operations, and transactions involving any funds traceable to

   Plaintiffs, provide Plaintiffs with the location and amount of all accounts containing any funds

   traceable to Plaintiffs, provide Plaintiffs with the location and description of all property

   purchased with any funds traceable to Plaintiffs, and to grant such other and further relief as the

   Court deems just and proper.

                                   COUNT 35 - Equitable Accounting
                                     (Defendant, Walsh and SARC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           516.    Defendants, Walsh and SARC share a fiduciary relationship or entered into a

   complex transaction.

                                           Page 117 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 118 of 124



           517.    The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

   transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

   laundered through numerous entities, and ultimately used for personal, inappropriate purposes.

           518.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

   authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions

   involving these funds, are so involved and complicated that a remedy at law is insufficient to

   administer complete justice.

           519.    Plaintiffs are entitled to receive information regarding transactions involving any

   of the funds traceable to Plaintiffs.

           520.    Plaintiffs have requested information on the transfers of their funds, transactions

   involving their funds, and the present location of their funds, which has not been provided.

           521.    A remedy at law is inadequate.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, and order

   Defendants to provide a full and complete accounting of their finances, operations, and

   transactions involving any funds traceable to Plaintiffs, provide Plaintiffs with the location and

   amount of all accounts containing any funds traceable to Plaintiffs, provide Plaintiffs with the

   location and description of all property purchased with any funds traceable to Plaintiffs, and to

   grant such other and further relief as the Court deems just and proper.




                                           Page 118 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 119 of 124



                                   COUNT 36 – Equitable Accounting
                                  (Defendants, J. Vosotas and United EB5)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           522.    Defendants, J. Vosotas and United EB5 share a fiduciary relationship or entered

   into a complex transaction.

           523.    The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

   transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

   laundered through numerous entities, and ultimately used for personal, inappropriate purposes.

           524.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

   authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions

   involving these funds, are so involved and complicated that a remedy at law is insufficient to

   administer complete justice.

           525.    Plaintiffs are entitled to receive information regarding transactions involving any

   of the funds traceable to Plaintiffs.

           526.    Plaintiffs have requested information on the transfers of their funds, transactions

   involving their funds, and the present location of their funds, which has not been provided.

           527.    A remedy at law is inadequate.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants JAMES VOSOTAS and UNITED EB-5, LLC, and order Defendants to provide a full

   and complete accounting of their finances, operations, and transactions involving any funds

   traceable to Plaintiffs, provide Plaintiffs with the location and amount of all accounts containing

                                           Page 119 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 120 of 124



   any funds traceable to Plaintiffs, provide Plaintiffs with the location and description of all

   property purchased with any funds traceable to Plaintiffs, and to grant such other and further

   relief as the Court deems just and proper.

                                    COUNT 37 - Breach of Contract
                                 (Defendant, Greystone EB-5 Partnership)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           528.    Defendant, Greystone EB-5 Partnership, entered into the Limited Partnership

   Agreement with Plaintiffs for the development of the Greystone Hotel Project.

           529.    Pursuant to the Greystone EB-5 Limited Partnership Agreement, the Plaintiffs

   each paid Five Hundred Thousand Dollars ($500,000.00) as their investment in exchange for one

   (1) unit in the Greystone EB-5 Partnership.

           530.     Plaintiffs paid a Forty-Five Thousand Dollar Administrative Fee ($45,000.00)

   pursuant to the terms of the Greystone EB-5 Limited Partnership Agreement.

           531.    Plaintiffs have performed all of its obligations under the Greystone EB-5 Limited

   Partnership Agreement.

           532.    Defendant, Greystone EB-5 Partnership has breached the Greystone EB-5 Limited

   Partnership Agreement by failing to comply with its terms, including, but not limited to: failing

   to invest the Plaintiffs’ funds in a qualifying investment under the EB-5 Program, provide

   Plaintiffs’ with an accounting, provide a return of Plaintiffs’ investment upon Plaintiffs’ I-526

   Petition denials, failing to hold Plaintiffs’ funds in an Escrow account, and misappropriating

   Plaintiffs’ investments.

           533.    As a result of the breach, Plaintiffs have already been damaged and continue to

   sustain additional damages.

                                          Page 120 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 121 of 124



             WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, GREYSTONE EB-5, LLLP for damages, pre-judgment and post-judgment interest,

   litigation costs, and for any such other and further relief as this Court deems just and proper.

                                    COUNT 38 – Unjust Enrichment
                                  (Defendant, Greystone EB-5 Partnership)
                                       In the Alternative to Count 37

             Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

             534.    Plaintiffs conveyed a benefit of nearly Five Million Dollars ($500,000,000.00) to

   Defendant, Greystone EB-5 Limited Partnership.

             535.    Defendant, Greystone EB-5 Partnership was enriched by the benefit and used it

   for their own personal uses.

             536.    Defendant, Greystone EB-5 Partnership retained the benefit for its sole use and

   profit.

             537.    The circumstances are such that it would be inequitable for Defendant Greystone

   EB-5 Partnership to retain the benefit, without paying Plaintiffs.

             538.    Plaintiffs have no adequate remedy at law.

             WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, GREYSTONE EB-5, LLLP for damages, litigation costs, and for any such other and

   further relief as this Court deems just and proper.


                                            Page 121 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 122 of 124



                     COUNT 39 - Avoidance of Fraudulent Transfers Pursuant to
                                 Florida Statutes §726.105 (1)(a)
                                       (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 217, as

   if fully set forth herein.

           539.    Defendant, Walsh, without the knowledge, consent or approval of the Plaintiffs,

   stole Plaintiffs’ funds and distributed them to his conspirators and their various entities.

           540.    Under Florida Statutes § 726.105(1)(a), a transfer made or obligation incurred by

   a debtor is fraudulent as to a creditor, whether the creditor’s claim arose before or after the

   transfer was made or the obligation was incurred, if the debtor made the transfer or incurred the

   obligation with the actual intent to hinder, delay, or defraud and creditor of the debtor.

           541.     As the funds and assets at issue were stolen by Defendant, Walsh from Plaintiffs,

   Plaintiffs have claims against Defendant, Walsh which pre-dated the fraudulent transfers and are

   “Creditors” within the meaning of Florida Statutes § 726.102(4).

           542.     Defendant, Walsh is a “Debtor” within the meaning of Florida Statutes §

   726.102(6).

           543.    At the time Defendants received the transfers as set forth herein, there existed

   significant, unpaid claims of the Plaintiffs against Defendant, Walsh.

           544.    The transfers were made with the actual intent to hinder, delay, and defraud

   Plaintiffs as creditors of Defendant, Walsh.

           545.    The transfers were made under circumstances demonstrating an unlawful intent as

   set forth in Florida Statutes §726.105(2), because, among other things: (i) the transfers were to

   insiders; (ii) the transfers were concealed; (iii) the debtor retained control over many of the




                                          Page 122 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 123 of 124



   transferred assets; (iv) the transfer was of substantially all of the debtor’s assets; (v) the debtor

   removed or concealed assets; and (vi) the debtor absconded.

          546.     Florida Statutes § 726.108 provides that, in an action for relief against a

   transferee under § 726.105, a creditor may obtain:

                  a. avoidance of the transfer to the extent necessary to satisfy the creditor’s claim;

                  b.   an attachment or other provisional remedy against the asset transferred or

                       other property of the transferee in accordance with applicable law;

                  c. an injunction against further disposition by the transferee of the asset trans-

                       ferred or of other property;

                  d.   appointment of a receiver to take charge of the asset transfer or other proper-

                       ty; or

                  e. any other relief the circumstances may require.

          547.    In addition to the relief available to the Plaintiffs under Florida Statute § 726.108,

   Plaintiffs also are entitled to a money judgment equal to the value of the assets transferred

   including pre-judgment interest.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully requests that the Court enter judgment in favor of Plaintiffs and against De-

   fendant, JOSEPH WALSH in an amount equal to the value of the assets transferred to them, and

   award Plaintiffs pre-judgment interest and any other remedies the Court deems just and proper

   including, without limitation, and any or all of the remedies provided under Florida Statutes

   Chapter 726 and for any further relief this Court deems just and proper.




                                          Page 123 of 124
Case 1:19-cv-24138-DPG Document 1 Entered on FLSD Docket 10/08/2019 Page 124 of 124
